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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

RICHARD JACOBIK, an individual;
CHRISTINE JACOBIK, an
individual,

Plaintiffs,

WELLS FARGO BANK, N.A.; and
DOES 1-100, INCLUSIVE

Defendants.

 

 

Case No: 3:17-CV-05121-LB

PLAINTIFFS’ OPPOSITION TO
DEFENDANT’S MOTION TO
DISMISS FIRST AMENDED
COMPLAINT

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OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COMPLAINT

 

 

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MEMORANDUM OF POINTS AND AUTHORITIES

I. INTRODUCTION

Plaintiffs RICHARD JACOBIK and CI-IRISTINE JACOBIK (collectively
referred to as “Plaintiffs”) are, and at all times relevant to the facts herein, were the
owners of the real property commonly known as 4086 Inniswood Place, CA 94568
(“Subject Property”).l Defendant, Wells Fargo Bank, N.A.’s (“WELLS” and/or
“Defendant”) instant motion must be denied as Plaintiffs’ Complaint states
sufficient facts to give Wells fair notice of the claims and the current case law and
the newly enacted Homeowner Bill of Rights (“HBOR”) supports Plaintiffs’
claims. Furthermore, Plaintiffs’ HBOR claims are not preempted by the federal law.

As fully briefed in Plaintiffs’ Memorandum, Plaintiffs’ Complaint pleads
sufficient facts in support of its causes of action and the claims are not preempted
by Home Owner’s Loan Act (“HOLA”). Therefore, Defendant’s Motion should be
denied.
II. SUMMARY OF FACTS

On or about March 7, 2007, Plaintiffs obtained a loan in the amount of
$631,200.00 (“NOTE”) through WELLS as the lender of the NOTE. The NOTE
was secured by a Deed of Trust.

In 2012, Plaintiffs fell behind in their mortgage payments for a very short
period of time.2

Unbeknownst to Plaintiffs, WELLS caused a Notice of Default to be
recorded on or about June 14, 2012 (“NOD”). Despite the self-serving declaration
that WELLS contacted Plaintiff as required by Civ. Code §2923.5, Plaintiffs never
received any phone calls, had no voicemails, and did not receive a certified letter

from WELLS prior to recordation of the NOD and Plaintiff had the same primary

 

1 Attached hereto as Exhibit “1” is the true and authentic copy of Plaintiffs’
Verified First Amended Complaint (“FAC”); § FAC 1[1
2 FAC 1127

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phone number on their file for years.3

Plaintiffs were able to make the missed payments and to bring their account
current after the NOD was recorded. However, even after Plaintiffs’ account
became current, WELLS did not rescind the NOD clouding Plaintiffs’ title.
Unfortunately, due to unforeseen loss of employment and medical expenses,
Plaintiffs defaulted on the NOTE in or around 2014. Plaintiffs made the mortgage
payments until their savings were depleted and they could no longer continue the
payments.4

In 2017, Plaintiffs experienced significant change in the financial situation
and submitted a complete loan modification application to WELLS in or around
February 24, 2017 and requested a foreclosure prevention alternative to save their
home. Thereafter, Plaintiffs were shuffled from one representative to another every
time they called to check on the status of his application. WELLS failed to assign a
single point of contact (“SPOC”) as required by Civ. Code. §2923.7 capable of
performing their responsibilities listed in Civ. Code §2923.7 (b). None of the
SPOCs were aware of current status of Plaintiffs’ file, kept asking the same
information and would inform Plaintiffs that they will review the file and get back
to him. Moreover, every time Wells assigned a new representative, the review
process was unnecessarily delayed because the new representative had to review the
file and would request the same documents, which they claimed either expired or
were misplaced.5

On or around March 15, 2017, less than a month after Plaintiffs submitted a
complete loan modification application, WELLS sent a vague and conclusory
denial letter and informed Plaintiffs that they allegedly did not qualify for a loan
modification based on the results of Plaintiffs’ net present value (NPV) evaluation
(“Denial Letter”).6

 

3 FAC 11128-29
4 FAC 1130-31
5FAC 1133-35
6FAC 37
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Plaintiffs believe and thereon allege that WELLS did not have the accurate
NPV calculations because WELLS lost the documents Plaintiffs sent them as
evident by WELLS repeatedly providing inconsistent information regarding
whether certain documents were received even though Plaintiff had already sent
them.7

Upon receiving this conclusory denial, Plaintiffs timely appealed the denial
and requested the NPV inputs WELLS used to determine their ineligibility for a
loan modification to review the inputs and make sure WELLS used the correct
information Plaintiffs provided and the value of the Subject Property WELLS used.
WELLS, in direct and material violation of Civ. Code §2923.6 (f) (3), did not
provide Plaintiffs with the NPV inputs. Instead, WELLS sent another vague and
non-responsive correspondence to Plaintiffs advising Plaintiffs that upon review of
their decision, WELLS determined that Plaintiffs “still do not meet the
requirements for a loan modification.” To date, Plaintiffs have not received the
NVP inputs and are informed and believe and thereon allege that WELLS failed to
properly review their loan modification application, including their gross income
and did not have the correct property value.8

WELLS’ negligent review of the loan modification application and failure to
provide the NPV inputs Plaintiffs were entitled to receive is a direct and material
violation of HBOR statutes. Despite these material violations, Wells continues with
the foreclosure process.
III. LEGAL ARGUMENTS

A. Standard of Review

“A motion to dismiss under Rule 12(b)(6) tests the sufficiency of the
complaint.” Novarro v. Black, 250 F.3d 729, 732 (9th Cir. 2001). “A claim may be

dismissed only if ‘it appears beyond doubt that plaintiff can prove no set of facts in

 

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support of his claim which would entitle him to relief.”’ Id. (internal citations
omitted).

Under the Federal Rules of Civil Procedure, Plaintiffs are required only to
plead “a short and plain statement of the claim showing that the pleader is entitled to
relief.” Fed. R. Gi»v.. 1P.¢8(a)(2). “Specific facts are not necessary; the statement need
only give the defendant's fair notice of what... the claim is and the grounds upon
which it rests.” Erickson v. Pardus, 551 U.S. 89, 93 (2007). The complaint need to
state only enough facts to state a claim for relief that is plausible on its face. Bel!
Atlam‘ic Corp. v. Twombly, 550 U.S. 544, 570 (2007). The Court must accept all
factual allegations of the complaint as true and draw all reasonable inferences “in the
light most favorable to [the Plaintiffs],” when considering Defendants' motions to
dismiss. Johnson v. Riverside Healthcare Sys., 534 F.3d lll6, 1122 (9th Cir. 2008).

“The Rule 8 standard contains ‘a powerful presumption against rejecting
pleadings for failure to state a claim.”’ Gz`llz'gan v. Jamco Dev. Corp., 108 F.3d 246,
249 (9th Cir. 1997) (citation omitted). Motions to dismiss for failure to state a claim
are viewed with disfavor and are rarely granted. Hall v. Cin of Santa Barbara, 833
F. 2d 1270, 1274 (9th Cir. 1986).

B. Plaintiffs Sufficiently Pleaded a Cause of Action for Violation of Cal.

Civ. Code § 2923.6

Civ. Code. §2923.6 (c) prohibits servicers from “recording” an NOD or NTS,
or “conducting” a foreclosure sale if the borrower submitted a complete loan
modification application.

Scheduling and refusing to postpone a sale is “conducting” a sale and
prohibited by the statute. w Foronda v. Wells Fargo, 2014 WL 6706815, at *6
(N.D. Cal. Nov. 26, 2014); M Copelana' v. chen Loan Servicing, LLC, 2014
WL 304976, at *5 (C.D. Cal. Jan. 3, 2014) (finding that the serving of notice of sale
on borrowers to violate Civ. Coder §2923.6); M Nardolillo v. JPMorgan
Chase Bank, N.A., 2017 WL 1493273, at *5 (N.D. Cal. Apr. 26, 2017) (allegations

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that the servicer reset trustee sale dates after initial NTS was recorded and informed
borrower of the new sale date while a loan modification application was under
review were sufficient).

An application may be complete even if the servicer later requests additional
documentation §e£ McKinley v. CitiMortgage, Inc., 2014 WL 651917, at *4 (E.D.
Cal. Feb. 19, 2014) (holding the fact that servicer “may hypothetically request
additional information in the future does not render implausible the claim that the
loan modification application was complete”). Furthermore, courts refused to
determine the issue of “completeness” of the application at the pleading stages of
litigation. Hestrin v. Citimorgage, 2015 Wl 847132, at 3 (C.D. Cal. Feb. 25, 2015);
seLal_s_o Medrano v. Caliber Home Loans, 2014 WL 7236925, at *7 (C.D. Cal.
Dec. 19, 2014); Gonzales v. Citimortgage, 2014 WL 7927627, at *l (N.D. Cal. Oct.
10, 2014).

Subsection (g) of Civ. Code §2923.6 allows a borrower to submit a
subsequent loan modification if there has been a material change in the borrower’s
financial circumstances since the borrower’s previous application. A decline in
income can constitute a material change in financial circumstances Valentino v.
Select Portfolio Servicing Inc., 2015 WL 575385 at *&4 O\I.D. Cal. Feb. 10, 2015)
(finding “no basis to conclude that a reduction in income cannot satisfy the
“material change” requirement of section 2923.6 (g)). Courts have also extended
dual tracking protections to borrowers who can show that their servicer agreed to
review a subsequent modification. Norris v. Bayvz`ew Loan Servicing, 2016 WL
337381, at *3 (C.D. Cal. Jan. 25, 2016); M Curtis v. Nationstar Morg. LLC,
2015 WL 4941554, at *2 (N.D. Cal. Aug. 19, 2015) (“If the servicer voluntarily
undertakes to review a loan modification application, a borrower may avail him or
herself of the protections afforded under Cal. Civ. Code § 2923.6.”).

The Defendant argues in their Motion to Dismiss that since Cal. Civ. Code
§2923.6 was repealed as of January l, 2018, this cause of action should be

dismissed However, California courts have long held that when a statute is

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repealed without a savings clause and as part of the same act it simultaneously re-
enacts a statute in substantially the same form and substance, all the rights and
liabilities which accrued under the former act will be preserved and enforced.
Chambers v. Davis, 131 Cal. App. 500, 506 (Cal. App. 1933), Haines v.
Department of Employment, 125 Cal. App. 2d 304, 306 (Cal. App. 1954). In
addition, it is held that an express saving clause is not necessary in order to save
rights under a repealed statute, it is sufficient if an intent to that effect appears by
legislative provision at the session of Legislature effecting the repeal of the statute
from which the rights are to be saved. County OfAlameda v. Kuchel, 32 Cal. 2d.
193, 198 (Cal. 1948). Finally, California courts have also held that an express
saving clause in a repealing statute is not required in order to prevent the
destruction of rights existing under statute, if the intention to preserve such rights is
otherwise clearly apparent such as whether “it can be apparent from any act on the
same subject passed by the legislature at the same session that it was the legislative
intent that pending proceedings should be saved, it will be sufficient to effect that
purpose.” Traub v. Edwards, 38 Cal. App. 2d 719, 722 (Cal. App. 1940).

Here, Cal. Civ. Code section 2923.6 went into effect January l, 2013 and by
its own terms is repealed as of January 1, 2018. However, the California legislature
also passed Cal. Civ. Code section 2924.11B which also went into effect on the
same day. This statute states that it is operative January l, 2018. This statute states
that “if a borrower submits a complete application for a foreclosure prevention
alternative offered by, or through, the borrower’s mortgage servicer. . .shall not
record a notice of sale or conduct a trustee’s sale while the complete foreclosure
prevention alternative is pending. . . .” Further, this same statute indicates that
following a denial of a first lien loan modification application, the mortgage
servicer shall send a written notice to the borrower identifying with specificity the
reasons for the denial and shall include a statement that the borrower may obtain
additional documentation supporting the denial decision, . ..” Ultimately, these

statutes went into effect on the same date. In addition, even with Cal. Civ. Code

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section 2923.6’s repeal, the fact that the legislature enacted these statutes together
indicate that the California legislature did not intend for borrowers to not have any
causes of actions for mortgage servicer’s wrongdoings. Thus, dismissing Cal. Civ.
Code section 2923.6 as a result of a repeal would be contrary to the legislative
intent and contrary to court precedent

In addition, it would be inequitable to allow WELLS to avoid not providing
specific NPV values just because the statute was repealed as of January l, 2018.
Ultimately these causes of actions accrued prior to January l, 2018, dismissing this
cause of action even though it accrued prior to the repeal date would allow WELLS
and other mortgage servicers to avoid liabilities as a result of wrongdoings that
HBOR was designed to prevent. Therefore, the court should deny this motion to
dismiss as a result.

C. Plaintiffs Sufflciently Pleaded a Cause of Action for Violation of Cal.

Civ. Code § 2923.7

Civ. Code §2923.7 requires that a mortgage servicer appoints a single point
of contact when a borrower requests a foreclosure prevention alternative and
requires that a single point of contact is knowledgeable about the borrower’s
situation and the current status.

California courts have found that every violation that undermines the purpose
of the HBOR is a material violation. Green v. Wells Fargo Bank, N.A. , 2015 WL
2159460 at *3 (N.D. Cal. May 7, 2015); Hena’ricks v. Wells Fargo Bank, N.A.,
2015 WL 1644028, at 8-9 (C.D. Cal. Apr. 14, 2015); Rizk v. Residential Credit
Solutions, Inc., 2015 WL 573944, at 12 (C.D. Cal. Feb. 10, 2015). The SPOC
provision was intended to reduce borrower’s frustrations as they attempt to contact
their servicers to gain useful information about the loan modification status.
Moreover, to fulfill SPOC duties and comply with I-IBOR’s dual tracking rules, a
SPOC capable of performing his responsibilities under 2923.7 (b) must be
necessary appointed Shapiro v. Sage Point Servs., 2014 WL 5419721, at *6 (C.D.
Cal. Oct. 24, 2014); Lalsg Shaw v. Specialized Loan Servz`cing, LLC, 2014 WL

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3362359, at *7 (C.D. Cal. July 9, 2014) (granting a permanent injunction based on
borrower’s allegations that he was shuffled from SPOC to SPOC and none of them
could provide him with the status of his loan modification application (emphasis
added); M Diamos v. Specialized Loan Servicing, LLC, 2014 WL 3362259, at
*4 (N.D. Cal. Feb. 3, 2014) (finding that borrower pled viable SPOC claim where
none of the servicer representatives had the knowledge or authority to perform
SPOC duties) (complaint dismissed on jurisdiction grounds). Some courts have
concluded that materiality is a factual question that should not be resolved at the
pleadings stage. Hestrin v. Citimortgage, Inc., 2015 WL 847132, at *3 (C.D. Cal.
Feb. 25, 2015); Garcia v. PNC. Mortg., 2015 WL 534395 at *4-5 (N.D. Cal. App.
Feb. 9, 2015); Hz`xon v. Wells Fargo Bank, 2014 WL 3870004, at*6 (N.D. Cal.
Aug. 6, 2014).

Defendant alleges in their motion to dismiss that Plaintiffs admit that their
application was reviewed to completion and a decision was made and that therefore,
Plaintiffs have not alleged how a denial of a SPOC had any effect upon their
outcome of their loan modification application. However, Plaintiffs have already
alleged that Plaintiffs had to deal with multiple SPOCs each of whom requested the
same documents over and over again, unable to adequately inform Plaintiffs as to
the status of their loan modification application. In addition, it has also been alleged
that because the SPOCs requested the same documents over and over again and
were unable to inform Plaintiffs of the status of their case, WELLS did not
accurately and properly review Plaintiffs’ LMA as evidenced by the fact that
WELLS failed to use accurate NPV information. Plaintiffs have further alleged that
because WELLS representatives asked for the same information and the same
documents the process was unnecessarily delayed which caused confusion as to the
current status of Plaintiffs’ LMA.

There has been sufficient facts alleged as to a violation of Cal. Civ. Code
2923.7 and therefore, Defendant’s Motion to Dismiss should be denied. Moreover,
Wells recorded the NOD, NTS and continues with the foreclosure process. The

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court in Rz`zk determined that failure to comply with the straightforward language of
the statute is a material violation and noted that “the [NOD and NTS] are the very
essence of the statute and failure to abide by the straightforward language of the
statute is a material violation.” Rizk, 2015 WL 573944, at 12 (C.D. Cal. Feb. 10,
201 5).

D. Plaintiffs Sufficiently Pleaded a Cause of Action for Negligence

To sate a cause of action for negligence, a plaintiff must allege “(1) the
defendant owed the plaintiff a duty of care, (2) the defendant breached that duty,
and (3) the breach proximately cased the plaintiff’s damages or injuries.” Alvarez v.
BAC Home Loans Servicz`ng, L.P., 228 Cal. App. 4th 941, 944 (2014); M
Daniels v. Select Portfolio Servicing, Inc., 246 Cal. App. 4th 1150, 1180 (2016).

1. Wells Owes Duty of Care to Plaintiff

Wells’ reliance on Nymark v. Heart Fed. Savings & Loan Assn. and other
cases regarding the duty of care is misplaced for the following reasons. Nymark v.
Heart Fed. Savings & Loan Assn., 231 Cal. App. 3d 1089, 1096 (1991). “’Nymark
does not support the sweeping conclusion that a lender never owes a duty of care to
a borrower.” Jolley v. Chase Home Finance, LLC, 213 Cal. App. 4th 872, 901.

M, most of the cases Nymark cited for the general rule that a financial
institution owes no duty of care to a borrower when its involvement in the loan
transaction does not exceed the scope of the conventional role of a mere lender of
money involved “actions by third parties against construction lenders.” Daniels,
246 Cal. App. 4th 1150, 1180.The Court in Dam'els refused to follow the line of
cases holding that the “general rule” articulated in Nymark bars negligence actions
by borrowers finding that “the ‘general rule’ was developed in the context of
actions by third parties seeking to hold construction lenders liable for borrowers’
failings (e.g., construction defects)” because it would not make sense to impose
such duty unless a construction lender, similar to a conventional lender, was

actively involved in the borrower’s construction project. Daniels, 246 Cal. App. 4th
1 150, 1 181.

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S_eM, the courts have “concluded that a lender may owe a duty of care to a
borrower based on the Biakanja factors, despite the fact that the lender was acting
as a conventional lender. Daniels, 246 Cal. App. 4th 1150, 1181, Mg Jolley v.
Chase Home Finance, LLC, 213 Cal. App. 4th 872, 901 (2013) and Alvarez v. BAC
Home Loans Servicing, L.P., 228 Cal. App. 4th 941, 945 (2014). In Biakanja v.
Irving, the California Supreme Court held that whether the defendant in a specific
case “will be held liable to a third party not in privity is a matter of policy and
involves the balancing of various factors, including (1) the extent to which the
transaction was intended to affect the plaintiff, (2) the foreseeability of harm to the
plaintiff, (3) the degree of certainty that the plaintiff suffered injury, (4) the
closeness of the connection between the defendant’s conduct and the injury
suffered, (5) the moral blame attached to the defendant’s conduct, and (6) the policy
of preventing future harm. Biakanja v. Irving, 49 Cal. 2d 648, 650; see also
Dam`els, 246 Cal. App. 4th 1150, 1181 (Mg_Biakanja). The application of
Biakanja factors will lead this Court to determine that Wells owes a duty of care
under the circumstances of this case.

Defendant argues that even if WELLS owed Plaintiffs a duty of care,
Plaintiffs have not alleged sufficient facts which indicate that WELLS violated that
duty. It has been specifically alleged in the FAC that WELLS failed to provide a
good faith review of Plaintiffs’ LMA, failed to assign a SPOC capable of
conducting its responsibilities according to state statutes, failed to provide NPV
inputs when the Plaintiff requested it, failed to properly review the appeal of the
denial, failed to rescind the NOD when Plaintiffs paid the amounts in default, and
continued with foreclosure proceedings even though Plaintiffs had violated statutes
in doing so.

In addition, Plaintiffs have alleged that as a result of all of these conducts,
and as a result of WELLS representatives’ not having up to date information
regarding the Plaintiffs’ files, as evidenced by WELLS providing inconsistent
information regarding Plaintiffs’ file, WELLS did not properly review Plaintiffs for

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OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COMPLAINT

 

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a loan modification with accurate NPV calculations. Further, WELLS not providing
Plaintiffs with the requested information meant that Plaintiffs were unable to
understand why their LMA was denied and whether such an application was
conducted in good faith.

There has been sufficient facts to demonstrate that WELLS owed a duty to
the Plaintiffs, breached that duty which caused damages as a result. Therefore,
WELLS’ motion to dismiss should be denied.

2. Negligence Per Se Doctrine
Under the doctrine of negligence per se, which is a vehicle for proving
negligence, a presumption of negligence arises from the violation of a statute which
was enacted to protect a class of persons of which the plaintiff is a member against
the type of harm the plaintiff suffered as a result of violation. Weber v. PNC Bank,
N.A., 2015 LEXIS 7041, at *14-15 (E.D. Cal. Jan. 21, 2015) (Mg Quiroz v.
Seventh Ave. Ctr., 140 Cal. App. 4th 1256, 1285; Sierra-Bay Fed. Land Bank Assn.
v. Superior Court, 227 Cal. App. 3d 318, 333-334).
Plaintiffs’ Complaint alleges that as a direct and proximate result of Wells’
actions and omissions, Plaintiff suffered damages.9
IV. IF THIS COURT IS INCLINED TO GRANT THE MOTION TO
DISMISS, LEAVE TO AMEND SHOULD BE GRANTED
If the court perceives any defect in the Plaintiff’ s Complaint, it should grant

 

the Plaintiff leave to amend. The Ninth Circuit determined that a party must be
given at least an opportunity to amend the complaint after a motion to dismiss is
granted. Mayes v. Lez`pzz`ger, 729 F.2d 605, 607-609 (9th Cir. 1984). The Ninth
Circuit based its holding in part on Federal Rule of Civil Procedure 15(a) which
provides that “a party may amend his pleadings once as a matter of course at any
time before a responsive pleading is filed. Id. at 60.A motion to dismiss is not

considered a “responsive pleading.” Breier v. Northern California Bowling

 

9 FAC 1175, 80

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OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COMPLAINT

 

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Proprietors'Assn., 316 F.2d 787, 789 (9th Cir. 1963). Granting a motion to dismiss
does not terminate the right to amend. Id.
V. CONCLUSION

For the reasons stated above, Plaintiff respecthilly asks this Court to deny
Wells’ l\/Iotion.

Dated: January 25, 2018 RA & ASSOCIATES, APC

By: /s/ Manuel Magpapian
MANUEL MAGPAPIAN
ROMEL AMBARCHYAN
Attorneys for Plaintiff

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OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COMPLAINT

 

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EXHIBIT “1”

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RA & ASSOCIATES, APC

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Glendale, CA 91203

Telephone: (818) 230-3220

Facsimile: (818) 230-3211

Attorneys for Plaintiffs,
Richard Jacobik and Christine Jacobik

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

RICHARD JACoBIK, an individual; Case NO= 3217-CV-05121~LB

FHR¥STINE JACOBIK, an ` vERIFIED FIRST AMENDED
indivldual, COMPLAINT FOR:
Plaintiffs,

l CIVI.L CODE SEC'I`IO.N 2923.6

2 ClVIL CODE SECTION 2923.7

v. 3' NEGLIGE_NCE

4 UNFAIR BUSINESS
P.RAC'I`ICES

S) CIVIL CODE SECTION 2923.5
WELLS FARGO BANK, N.A.; and

DOES 1-100, lNCLUSIVE
Defendants.

 

COME NOW the Plaintiffs RICHARD JACOBIK and CHRISTINE
JACOBIK (collectively referred to as “Plaintiffs”), who hereby demand a speedy
jury trial on all causes of actions stated herein, and hereby alleges as their Verified
Complaint against WELLS FARGO BANK, N.A (“WELLS”) herein as follows:
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PARTIES

1. Plaintiffs RICHARD JACOBIK and CHRISTINE JACOBIK
(collectively referred to as “Plaintiffs”) are, and at all times relevant to the facts
herein, were the owners of the real property commonly known as 4086 I.nniswood
Place, Dublin, CA 945 68 (“Subject Property”) located in the County of Alameda, in
the State of California. At all times, relevant to the facts herein, the Subject
Property was and is an owner-occupied residence.

2. Plaintiffs are informed and believes and thereon allege that Defendant,
WELLS FARGO BANK, N.A (“WELLS” and/or “Defendant”) is a national bank
with its principal place of business in San Francisco, California with its agent for
service of process as CORPORATION SERVICE COMPANY WHICH WILL DO
BUSINESS IN CALIFORNIA AS CSC-LAWYERS INCORPORATING
SERVICE located at 2710 Gateway Oaks Drive, Suite 150n, Sacramento, CA
95833.

3. The true names and capacities, whether individual, corporate,
partnership, associate, or otherwise of Defendants DOES l through 100, are
unknown to Plaintiffs who sue each Defendant by such fictitious names. Plaintiffs
are informed and believe and, thereon, allege each of the Defendants designated
herein as a fictitiously named Defendant is, and in some manner, was responsible
for the events and happenings referred to herein, either contractually or tortuously.
When Plaintiff ascertains the true names and capacities of DOES 1 through 20, they
will amend this Complaint accordingly.

4. Plaintiffs are informed and believe and based thereon alleges that
Defendants and each of them, are, and at all times herein mentioned were, the
agents, joint venturers, officers, members, representatives, servants, consultants or
employees of their co-defendants, and in committing the acts herein alleged, were
acting within the scope of such affiliation with the knowledge, permission, consent

or subsequent ratification of their co-defendants.

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JURISDICTION AND VENUE

5. This Court has subject matter jurisdiction over this matter as the
Subj ect Property is located in the County of Alameda, California.

6. In addition, this Court has subject matter jurisdiction over the claims
raised herein pursuant to California Constitution Article VI, section 10, which
grants this Court “original jurisdiction in all causes except those given by statute to
other trial courts.”

7. Defendants herein purposefully directed their activities to the State of
California. As a result, Defendants caused an event or events to occur in
California, and more particularly in the County of Alameda, out of which this
action arises and which form the basis of this action.

8. Defendants either are entities duly licensed to do business in the State
of California or are entities that regularly conduct business within this judicial
district within California.

9. Venue is proper for this Court since the Subject Property (described
below) is located in the County of Alameda and because the events, or events out of
which this action arises and which form the basis for this action, arise in the County
of Alameda.

GENERAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTIONS
2017 DEUTSCHE BANK SETTLEMENT AGREEMENT

10. On January 17, 2017, the Justice Department, along with federal
partners, announced a $7.2 billion settlement with Deutsche Bank resolving civil
claims that Deutsche Bank misled investors in the packaging, securitization,
marketing, sale and issuance of residential mortgage-backed securities (“RBMS”)
between 2006 and 2007. This $7.2 billion agreement represents the single largest
RMBS resolution for the conduct of a single entity. The settlement requires
Deutsche Bank to pay a $3.1 billion civil penalty under the Financial Institution
Reform, Recovery and Enforcement Act (“FIRREA”). Under the settlement,

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Deutsche Bank will also provide $4.1 billion in relief to underwater
homeowners, distressed borrowers and affected communities

WELLS FARGO AND OCC CONSENT DECREE AND THE NATIONAL

MORTGAGE SETTLEMENT
11. Wells Fargo is a direct signatory to the OCC Consent Decree and the

National Mortgage Settlement. The Consent Decree and the Settlement were
regulatory and judicial actions designed to address various abuses in the
Foreclosure activities and lenders and servicers have engaged in. These abuses
include:

a. failing to timely and accurately apply payments made by borrowers
and

b. failing to maintain accurate account statements;

c. providing false or misleading information in response to borrower
complaints;

d. failing to provide accurate and timely information to borrowers who
seek information about loss mitigation services, including loan
modifications;

e. falsely advising borrowers that they must be at least 60 days
delinquent in loan payments to qualify for a loan modification;

f. misrepresenting to borrowers that loss mitigation programs would
provide relief from the initiation of foreclosure or further foreclosure
efforts;

g. providing false or misleading information to consumers about the
status of the loss mitigation review, including while referring loans to
foreclosure;

h. providing false or misleading information to consumers about the
status of foreclosure proceedings where the borrower was in good-faith

actively pursuing a loss mitigation alternative offered by the Servicers;

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i. failing to properly calculate borrowers’ eligibility for loan
modification programs and improperly denying loan modification
relief to eligible borrowers;

j. failing to properly process borrowers’ applications for loan
modifications, including failing to account for documents submitted by
borrowers and failing to respond to borrowers’ reasonable requests for
information and as a result, denying loan modifications to consumers
who were eligible;

k. providing false or misleading reasons for denial of loan modifications;

l. preparing, executing, notarizing, and presenting false and misleading
documents, filing false and misleading documents with courts and
government agencies, or otherwise using false or misleading
documents as part of the foreclosure process (including, but not limited
to, affidavits, declarations, certifications, substitutions of trustees, and
assignments); and

m. preparing, executing, notarizing, and filing affidavits in foreclosure
proceedings, whose affiants lacked personal knowledge of the
assertions in the affidavits and did not review any information or
documentation to verify the assertions in such affidavits This practice
of repeated false attestation of information in affidavits is popularly
known as “robosigning.”

HOME AFFORDABLE MODIFICATION PROGRAM (HAMP)

12. On February 18, 2009, pursuant to their authority under the Emergency
Economic Stabilization Act of 2008, the U.S. Treasury Secretary and the Director
of the Federal Housing Finance Agency announced the MAKING HOME
AFFORDABLE (MHA) program. The MAKING HOME AFFORDABLE
program consists of two subprograms. The first program is referred to as HOME
AFFORDABLE REFINANCE PROGRAM, or HARP. The second program is

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referred to as HOME AFFORDABLE MODIFICATION PROGRAM (Hereinafter
HAMP). The latter is the program at issue in this case.

13. HAMP is funded by the Federal Government, primarily with Troubled
Asset
Relief Program (TARP) funds. The U.S. Treasury Department has allocated at least
$75 billion to HAMP, of which at least $50 billion in TARP money. Because
mortgage lenders accepted federal funds additional loan guarantees, it was required
to participate in HAMP for any loans on which it functions as a loan “servicer.”
Mortgage lenders acted as Loan Servicer f`or the subject loan of Plaintiffs. In
addition, mortgage lenders signed an AMENDED AND RESTATED
COMMITMENT TO PURCHASE FINANCIAL INSTRUMENTS AND
SERVICER PARTICIPATE AGREEMENT, agreeing to participate in the HOME
AFFORDABLE MODIFICATION PROGRAM (HAMP), including all its directives
and guidelines

THE SERVICE PARTICIPATION AGREEMENT (SPA)

14. The SERVICER PARTICIPATION AGREEMENT (SPA) mandates
that a Participating Servicer “shall perform” the activities described in the Program
Documentation “for all mortgage loans it services,” SPA Section 2(A), page 3.

15. The Program Documentation requires Participating Servicers to: (1)
evaluate all loans which are 60, or more, days delinquent or appear to be in imminent
default (as denned by the Program Documentation) and; (2) determine which loans
meet the HAMP eligibility criteria. In addition, the participating servicers, such as
mortgage lenders, must collect income and hardship information to determine if the
borrower is eligible for a HAMP loan modification A HAMP Modification consists
of two stages. First, a Participating Servicer is required to gather information and, if
appropriate, offer the homeowner a Trial Period Plan (TTP). Second, upon
successful completion, the Servicer must offer the homeowner a permanent
modification

16. Because OCWEN signed a SERVICER PARTICPATION

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AGREEMENT (SPA) with the U.S. Treasury Department to provide HAMP loan
modifications in return for receiving Troubled Asset Relief Program (TARP) funds
to benefit homeowners, mortgage lenders are required by law to comply with the
requirements of the SPA.

17. Ever_since, the national press has been reporting stories of numerous
illegalities in the policies, practices and procedures of mortgage lenders and other
lenders/servicers The evidence is overwhelming that mortgage lenders and other
lenders/services have been acting outside of the law since the crisis began. This
action is a prime example of mortgage lenders and its agents’ wrongful and illegal
conduct in their greed for property and fees at any costs without any regard for the
rights of homeowners and borrowers.

MARCH 2012 BANK SETTLEMENT

18. ln March 2012, the government shed light on the wrongful and illegal
conduct of
mortgage lenders and other major servicers with a landmark of 825 billion settlement
With the five largest U.S. mortgage lenders.

19. According the eight-count government complaint, the nation’s five
largest banks,

“engaged in a pattern of unfair and deceptive practices” in servicing mortgages,
handling loan modifications and originating loans. The complaint went on to state
that the banks’ foreclosure filing contained “false and misleading documents”
including affidavits that were filed Without being verified, a practice that came to be
known as “robosigning”.

20. Pursuant to the settlement, the banks will have to pay $5 billion cash to
state and federal governments and provide $20 billion in financial relief to mortgage
customers, in the form of interest rate reductions and principle balance reductions

JULY 2012 - HOMEOWNER’S BILL OF RIGHTS
21. Furthermore, as recent as July 11, 2012, Attorney General Kamala D.

Harris announced that the Homeowner Bill of Rights, which will protect homeowners

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and borrowers during the mortgage and foreclosure process, was signed into law by
Governor Edmund G. Brown Jr. The Homeowner Bill of Rights prohibits a series of
inherently unfair bank practices that have needlessly forced thousands of
Californians, including Plaintiffs, into defaulting on their mortgages The law
restricts dual-tract foreclosures, where a lender forecloses on a borrower despite
being in discussions over a loan modification to save the home. It also guarantees
struggling homeowners a single point of contact at their lender With knowledge of
their loan and direct access to decision makers, and imposes civil penalties on
fraudulently signed mortgage documents In addition, homeowners may require loan
servicers to document their right to foreclose.

22. The Homeowner Bill of Rights builds upon and extends reforms first
negotiated in the recent national mortgage settlement between forty-nine (49) states
and the leading lenders Attorney General Harris secured up to $18 billion for
California homeowners in that agreement, and has also built a Mortgage Fraud
Strike Fo.rce to investigate crime and fraud associated with mortgages and
foreclosures The Homeowners Bill of Rights consists of a series of related bills
including two identical bills that were passed on July 2, 2012 by the state Senate
and Assembly: AB 278 (Eng, Feuer, Perez, Mitchell) and SB 900 (Leno, Evans,
Corbett, DeSaulnier, Pavley, Steinberg.

FACTUAL BACKGROUND ALLEGATIONS

23. Plaintiffs re-allege and incorporate by reference herein, each and every
allegation in the foregoing and successive paragraphs

24. On or about March 7, 2007, Plaintiffs obtained a loan in the amount of
8631,200.00 (“NOTE”) through WELLS as the lender of the NOTE. The NOTE
was secured by a Deed of Trust. A true and correct copy of the Deed of Trust,
recorded in Alameda County Recorder’s Office on March 16, 2007, is attached
hereto as Exhibit “A”.

25. The Subj ect Property has been and continues to be Plaintiffs’ primary

residence.

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26. WELLS purports to be the servicer of the NOTE.

27. In 2012, Plaintiffs fell behind in their mortgage payments for a very
short period of time.

28. Unbeknownst to Plaintiffs, WELLS caused a Notice of Default to be
recorded on or about June 14, 2012 (“NOD”). A true and correct copy of the Notice
of Default recorded in Alameda County Recorder’s Office on June 14, 2012 is
attached hereto as Exhibit “B”.

29. Despite the self-serving declaration that WELLS contacted Plaintiff as
required by Civ. Code §2923.5, Plaintiffs never received any phone calls and had
no voicemails from WELLS prior to recordation of the NOD and Plaintiff had the
same primary phone number on their file for years

30. Plaintiffs were able to make the missed payments and to bring their
account current after the NOD was recorded. However, even after Plaintiffs’
account became current, WELLS did not rescind the NOD clouding Plaintiffs’ title.

31. Unfortunately, due to unforeseen loss of employment and medical
expenses, Plaintiffs defaulted on the NOTE in or around 2014. Plaintiffs made the
mortgage payments until their savings were depleted and they could no longer
continue the payments

32. On or about October 4, 2016, WELLS caused a Notice of Trustee’s
Sale to be recorded (“NOS”). A true and correct copy of the Notice of Trustee’s
Sale recorded in Alameda County Recorder’s Office on October 4, 2016 is attached
hereto as Exhibit “C”.

33. In 2017, Plaintiffs experienced significant change in the financial
situation and submitted a complete loan modification application to WELLS in or
around February 24, 2017 and requested a foreclosure prevention alternative to save
their home.

34. Thereafter, Plaintiffs were shuffled from one representative to another
every time they called to check on the status of his application WELLS failed to
assign a single point of contact (“SPOC”) as required by Civ. Code. §2923.7

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capable of performing their responsibilities listed in Civ. Code §2923.7 (b).

35. None of the SPOCs were aware of current status of Plaintiffs’ file, kept
asking the same information and would infonn Plaintiffs that they will review the
file and get back to him.

36. Plaintiffs believe and thereon allege that because the SPOCs were not
aware of the status of Plaintiffs’ loan modification application, and that the SPOCs
provided inconsistent information regarding whether documents were received,
WELLS did not properly review Plaintiffs’ LMA.

37. On or around March 15, 2017, less than a month after Plaintiffs
submitted a complete loan modification application, WELLS sent a vague and
conclusory denial letter and informed Plaintiffs that they allegedly did not qualify
for a loan modification based on the results of Plaintiffs’ net present value (NPV)
evaluation (“Denial Letter”). A true and correct copy of the March 15, 2017
correspondence is attached hereto as Exhibit “D”.

38. Plaintiffs believe and thereon allege that WELLS did not have the
accurate NPV calculations because WELLS lost the documents Plaintiffs sent them
as evident by WELLS repeatedly providing inconsistent information regarding
whether certain documents were received even though Plaintiff had already sent
them.

39. Upon receiving this conclusory denial, Plaintiffs timely appealed the
denial and requested the NPV inputs WELLS used to determine their ineligibility
for a loan modification to review the inputs and make sure WELLS used the correct
information Plaintiffs provided and the value of the Subject Property WELLS used.

40. WELLS, in direct and material violation of Civ. Code §2923.6 (f) (3),
did not provide Plaintiffs with the NPV inputs Instead, WELLS sent another vague
and non-responsive correspondence to Plaintiffs advising Plaintiffs that upon
review of their decision, WELLS determined that Plaintiffs “still do not meet the
requirements for a loan modification.” A true and authentic copy of the April 20,

2017 correspondence is attached hereto as Exhibit “E”.

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41. To date, Plaintiffs have not received the NPV inputs and are informed
and believe and thereon allege that WELLS failed to properly review their loan
modification application, including their gross income and did not have the correct
property value. WELLS’ negligent review of the loan modification application and
failure to provide the NPV inputs Plaintiffs were entitled to receive is a direct and
material violation of HBOR statutes

42. Because of this incompetent conduct by Wells and failure to timely
process the LMA, the review process was negligently conducted

43. As a result of having to deal with multiple SPOCs who could not
accurately and adequately perform their responsibilities under Cal. Civ. Code
§2923.7 (b), Plaintiff is informed and believes and thereon alleges that WELLS
negligently reviewed them for the loan modification

44. Despite the fact that Plaintiffs never received the NPV inputs they
requested in writing, WELLS continues with the foreclosure proceedings in direct
violation of Cal. Civ. Code §2923.7 and 2923.6.

45. Plaintiffs’ property is scheduled for a foreclosure sale on September
19, 2017.

FIRST CAU`SE OF ACTION
(VIOLATION OF CAL. CIVIL CODE SECTION 2923.6)
(Against all Defendants & DOES 1-100, inclusive)

46. Plaintiffs re-allege and incorporate by reference herein, each and every
allegation in the foregoing and successive paragraphs

47. Pursuant to California Civil Code §2923.6, the mortgage
servicer, trustee, beneficiary, or authorized agent shall not record a notice of default
or notice of sale or conduct a trustee ’s sale until any of the following occurs

(emphasis added):

(e)(2) “lf the borrower appeals the denial pursuant to subdivision (d), the
later of 15 days after the denial of the appeal or 14 days after a first lien loan

modification is offered after appeal but declined by the borrower...”

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Subsection (f) (3) of Civ. Code 2923 .6 provides that borrowers are entitled to

NPV inputs if the denial of loan modification is based on NPV values
48. Due to unforeseen loss of employment and medical expenses,

Plaintiffs defaulted on the NOTE in or around 2014. Plaintiffs made the mortgage
payments until their savings were depleted and they could no longer continue the
payments

49. On or around March 15, 2017, less than a month after Plaintiffs
submitted a complete loan modification application, WELLS sent a vague and
conclusory denial letter and informs Plaintiffs that they allegedly did not qualify for
a loan modification based on the results of Plaintiffs’ net present value (NPV)
evaluation S_ee_ Exhibit “D”.

50. Upon receiving this conclusory denial, Plaintiffs timely appeal the
denial and requested the NPV inputs WELLS used to determine their ineligibility
for a loan modification to review the inputs and make sure WELLS used the correct
information Plaintiffs provided and the value of the Subject Property WELLS used.

51. WELLS, in direct and material violation of Civ. Code §2923.6 (f) (3)
did not provide Plaintiffs with the NPV inputs Instead, WELLS sent another vague
and non-responsive correspondence to Plaintiffs advising Plaintiffs that upon
review of their decision, WELLS determined that Plaintiffs “still do not meet the
requirements for a loan modification.” &§ Exhibit “E”.

52. To date, Plaintiffs have not received the NPV inputs and are informed
and believe and thereon allege that WELLS failed to properly review their loan
modification application, including their gross income and did not have the correct
property value. WELLS’ negligent review of the loan modification application and
failure to provide the NPV inputs Plaintiffs were entitled to receive is a direct and
material violation of HBOR statutes

53. Despite the fact that Plaintiffs never received the NPV inputs they
requested in writing, WELLS continues with the foreclosure proceedings in direct
violation of Cal. Civ. Code § 2923.6.

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SECOND CAUSE OF ACTION
(VIOLATION OF CAL. CIVIL CODE SECTION 2923.7)
(Against all Defendants & DOES 1-100, inclusive)

54. Plaintiffs re-allege and incorporate by reference herein, each and every
allegation in the foregoing and successive paragraphs

55. California Civil Code Section 2923.7 requires that large servicers set
up and maintain a single point of contact for borrowers seeking foreclosure
alternatives and states in pertinent part:

(a) Upon request of a borrower who requests a foreclosure prevention
alternative, the mortgage servicer shall promptly establish a single point of contact
and provide to the borrower one or more direct means of communication with the
single point of contact. . .” (who is) (b) responsible for (1) Communicating the (loan
modification) process .. (2) Coordinating receipt of all (loan modification)
documents (3) having access to current information and personnel (with knowledge
of the current status), (4) ensuring that a borrower is considered for all foreclosure
prevention alternatives offered by, or through, the mortgage servicer, if any (and)
(5) having access to individuals with the ability and authority to stop foreclosure
proceedings When necessary.” Civ. Code § 2923.7.

5 6. WELLS failed to assign a SPOC capable of performing its
responsibilities under Cal. Civ. Code §2923.7 (b) (1) though (5).

57. The SPOCs did not remain assigned to Plaintiffs’ account throughout
the loan modification application As a matter of fact, Plaintiffs were forced to deal
with several different SPOCs each of whom requested the same documents over
and over and could not adequately inform Plaintiff about the current status of his
application

58. Plaintiffs believe and thereon allege that because the SPOCs requested
the same documents over and over again, WELLS did not properly review
Plaintiffs’ LMA especially since Plaintiffs believe that WELLS did not use accurate

NPV information

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59. The SPOCs did not provide accurate NPV information to the Plaintiffs
which prevented the Plaintiffs from

60. Plaintiffs were shuffled from one representative to another every time
he called asking for assistance and what he needs to do. Each representative kept
asking the same information and the same documents Plaintiff previously submitted
with no progress

61. Plaintiffs believe and thereon allege that because WELLS
representatives asked for the same information and the same documents that were
already submitted, this process was unnecessarily delayed by WELLS and caused
confusion to the Plaintiffs as to the current status of their LMA.

62. Upon receiving this conclusory denial, Plaintiffs timely appealed the
denial and requested the NPV inputs WELLS used to determine their ineligibility
for a loan modification to review the inputs and make sure WELLS used the correct
information Plaintiffs provided and the value of the Subject Property WELLS used.

63. WELLS, in direct and material violation of Civ. Code §2923.6 (f) (3),
did not provide Plaintiffs with the NPV inputs Instead, WELLS sent another vague
and non-responsive correspondence to Plaintiffs advising Plaintiffs that upon
review of their decision, WELLS determined that Plaintiffs “still do not meet the
requirements for a loan modification.” &g Exhibit “E”.

64. As a result of having to deal with multiple SPOCs who could not
accurately and adequately perform their responsibilities under Cal. Civ. Code
§2923.7 (b), Plaintiff is informed and believes and thereon alleges that WELLS
negligently reviewed them for the loan modification

65.To date, Plaintiffs have not received the NPV inputs and are informed and
believe and thereon allege that WELLS failed to properly review their loan
modification application, including their gross income and did not have the correct
property value. WELLS’ negligent review of the loan modification application and
failure to provide the NPV inputs Plaintiffs were entitled to receive is a direct and

material violation of HBOR statutes

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66. As a direct and proximate result of the negligence and carelessness of
WELLS, as set forth above, Plaintiffs have suffered damages in an amount not
presently ascertained and will be proved at trial and face an imminent non-judicial
foreclosure sale of the Subject Property.

THIRD CAUSE OF ACTION
g §EGLIGENCE)
(Against ALL DEFENDANTS and DOES 1 - 100)

67. Plaintiffs re-allege and incorporate by reference herein, each and

 

every allegation in the foregoing and successive paragraphs

68. WELLS, acting as Plaintiff s lender and/or servicer, undertook a
review of Plaintiffs’ request for loan modification Having done So, it owes
Plaintiff the duty to exercise reasonable care in processing and reviewing their
application for a loan modification prior to proceeding with conducting a trustee’s
sale.

69. WELLS breached their duty by (1) failing to provide Plaintiff with a
good faith review of their loan modification application; (2) failing to assign a
SPOC who remained assigned to the account throughout the loan modification
process; (3) failing to assign a competent SPOC capable of` performing its
responsibilities listed in Cal. Civ. Code §2923.6 (b); (4) failing to provide the
NPV inputs upon Plaintiffs’ written request; (5) failing to properly review
Plaintiffs’ appeal of the denial; (6) failing to contact Plaintiffs prior to recording
the NOD as required by Civ. Code §2923.5; (7) failing to rescind the NOD when
Plaintiffs paid the amounts in default and became current; and (8) initiating and
continuing foreclosure in violation of public policy and statutory restrictions on
foreclosures while Plaintiffs are still waiting for the NPV inputs to determine
whether WELLS used the correct information

70. Since WELLS did not provide a SPOC who could competently
conduct their duties pursuant to Cal. Civ. Code 2923 .6, WELLS failed to provide

a good faith review of the loan modification application even though they

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provided a complete loan modification none of the SPOCs were aware of current
status of Plaintiffs’ file, and they kept asking the same information and would
inform Plaintiffs that they will review the file and get back to him.

71. Plaintiffs believe and thereon allege that because the SPOCs were
unaware of the current status of Plaintiffs’ loan modification application, provided
inconsistent information about their application and kept asking the same
information from the Plaintiffs, WELLS did not review the loan modification
application with accurate NPV calculations

72. Due to WELLS not providing the NPV inputs upon Plaintiffs’
written request, Plaintiffs were unable to understand why their loan modification
application was denied and whether WELLS used the correct calculations in
determining whether WELLS conducted the loan modification review in good
faith.

73. Due WELLS negligent conduct, Plaintiffs dispute the total loan
amount and believe they have been charged improper and excessive fees and the
NPV inputs WELLS used for the determination are inaccurate

74. The transaction was intended to affect Plaintiff. lt was entirely
foreseeable that failing to properly review Plaintiffs’ information and to provide
the NPV inputs to Plaintiffs will have negative impact on Plaintiffs’ qualifications
for certain foreclosure prevention alternatives and would also impact the decision
on Plaintiffs’ application to determine whether Plaintiff could keep their home.

75. The injury to Plaintiffs is certain The improper review and
processing of Plaintiff’ s loan modification application and supporting documents,
including but not limited to the Plaintiffs’ financial records and property value,
deprived Plaintiffs of the possibility of obtaining loss mitigation assistance

76. There is a close connection between Defendant’s conduct and
Plaintiffs’ injuries WELLS’ conduct in improperly reviewing and processing
Plaintiffs’ and failure to provide the NPV inputs precluded Plaintiff from

obtaining the loan modification to which they were entitled to.

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77. The policy of preventing future harm favors imposing a duty of care
on an entity in Defendant’s position In fact, this is evidenced by the fact that the
State of California, through legislation, has enacted the Homeowner’s Bill of
Rights in an effort to prevent future harm from unnecessary and wrongful
foreclosure.

78. As a direct and proximate result of the negligence and carelessness of
Defendants and its representatives Plaintiffs have suffered, and continue to suffer,
general and special damages in an amount to be determined at trial and loss of the
Subject Property at a non-judicial foreclosure sale.

FOURTH CAUSE OF ACTION
(UNFAIR BUSINESS PRACTICES)
(Against ALL DEFENDANTS and DOES 1 - 100)

79. Plaintiffs re-allege and incorporate by reference herein, each and every
allegation of the foregoing and successive paragraphs

80. The Unfair Competition Law defines unfair competition to include any
“unfair,” “unlawful,” or “fraudulent” business act or practice Cal. Bus & Prof. Code
§17200, et seq. The Act also provides for injunctive relief and restitution for
violations

81. By virtue of the acts and omissions of WELLS, WELLS have engaged
in unfair and unlawful conduct within the meaning of Cal. Bus. & Prof. Code §17200
when WELLS: (1) recorded the NOD Without complying with the pre-NOD outreach
under Cal. Civ. Code §2923.5; (2) failed to provide Plaintiffs a good faith review of
their loan modification application; (3) failed to assign a SPOC who remained
assigned to the account throughout the loan modification process; (4) failed to assign
a competent SPOC capable of performing its responsibilities listed in Cal. Civ. Code
§2923 .6 (b); (5) failed to provide the NPV inputs upon Plaintiffs’ written request; (6)
failed to properly review Plaintiffs’ appeal of the denial; (7) failed to rescind the NOD
when Plaintiffs paid the amounts in default and became current; and (8) initiated and

continued the foreclosure in violation of public policy and statutory restrictions on

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foreclosures while Plaintiffs are still waiting for the NPV inputs to determine whether
WELLS used the correct information thereby entitling Plaintiffs to injunctive and
restitutionary relief as provided by California Business and Professions Code
§ 17203.

82. The aforementioned acts were willful, oppressive, and malicious in that
WELLS engaged in acts of unfair and unlawful business practice with the deliberate
intent to injure Plaintiff. Plaintiff is therefore entitled to payment of damages in a
sum sufficient to punish the Defendants and to set an example and deter such conduct
in the future.

83. As a direct and foreseeable result of the WELLS’ violation of Business
and Professions Code §17200, Plaintiff has suffered and will continue to suffer
substantial irreparable harm including but not limited to: possible loss of the Subject
Property, because WELLS proceeded to initiate a wrongful non-judicial foreclosure
on the Subject Property; loss of the opportunity to pursue other foreclosure
prevention options; loss of the opportunity to obtain a permanent modification;
accrual of the back dues and interest that has accrued to date that would not have
accrued but for WELLS’ action, excessive fees, the cost and expense of the instant
pending litigation, ruined credit ratings, and other actual and consequential damages
that will be proven on date of trial.

FIFTH CAUSE OF ACTION
(VIOLATION OF CAL. CIV. CODE §2923.5)
(Against All Defendants & DOES 1-100, inclusive)

84. Plaintiffs re-allege and incorporate by reference herein, each and every

 

allegation contained in the foregoing and successive paragraphs

85. Cal. Civ. Code §2923 .5 (a) (1) prohibits a mortgage servicer, mortgagee,
trustee, beneficiary, or authorized agent may not record a notice of default pursuant
to Section 2924 until it complies with the requirements of Cal. Civ. Code §2923.5

(b) (1) by sending the required information in writing to the borrower.

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86. Cal. Civ. Code § 2923.5 (b) (2) requires that a Notice of Default include
a declaration stating that the mortgage, beneficiary or authorized representative
contacted the borrower in person or by telephone in order to assess the borrower’s
financial situation and explore options for the borrower to avoid foreclosure

87. A notice of Default may be recorded pursuant to Section 2924 when a
mortgage servicer has not contacted a borrower as required provided that the failure
to contact the borrower occurred despite the due diligence of the mortgage servicer.
Civ. Code §2923.5 (e).

88. To comply with Cal. Civ. Code § 2923.5 (e) due diligence requirement,
a mortgage servicer must first send a letter and then attempt to contact the borrower
at least three (3) times to the borrower’s primary telephone number on file,

89. Despite the self-serving declaration that WELLS contacted Plaintiff as
required by Civ. Code §2923.5, Plaintiffs never received any letters phone calls and
had no voicemails from WELLS prior to recordation of the NOD and Plaintiff had
the same primary phone number on their file for years

PRAYER 1

WHEREFORE, Plaintiff prays for a judgment against Defendants as follows:

1. For compensatory, special, general and punitive damages according to
proof against all Defendants;

2. For an order enjoining the non-judicial foreclosure sale;

3. For damages in excess of $25,000, to be proven at trial, Which account
for all back due fees interest, foreclosure fees legal fees, and penalties accrued
during the foreclosure process;

4. Pursuant to Business and Professions Code Section 17200, that all
Defendants their successors agents representatives employees and all persons
who act in concert with Defendants be permanently enjoined from engaging in any
acts of unfair and unlawful business practices in violation of 17200, including, but
not limited to, the violations alleged herein;

5. For civil penalties pursuant to statute;

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Dated: December 14, 2017

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For restitution in the amount to be proven at trial;
F or reasonable attorney’s fees according to proof;
For fees and costs of suit according to proof;

For such other and further relief as the Court deems proper.

RA & ASSOCIATES, APC

By: /s/ Manuel Magpanian
MANUEL MAGPAPlAN, ESQ.
ROMEL AMBARCHYAN, ESQ.
Attorneys for Plaintiffs

 

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EXHIBIT “A”

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CHICAGO TITLE COMPANY

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DEF|N|T|ONS

Words used in multiple sections of this document are defined below and other words are
denned in Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used
in this document are also provided in Section 16.

(A) "Seeurity lnstrument" means this document which is dated MARCH 7, 2007
together with ali Rlders to this document

(B) "Bonowor" is

R|CHARD A. JACOBIK AND CHR|ST|NE S. JACOBIK, HUSBAND AND WIFE

Borrower ls the trustor under this Security instrument
(C) "Lender" is WELLS FARGO BANK, N.A.

Lender is a National Association
organized and existing under the laws of THE UN|TED STATES OF AMER|CA

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Lender‘sssaddre lis
P. 0. .BOX 5137, DES MOiNES, lA 50306-5131

Lender is the beneficiary under this Security instrument
(D) "Trustee" is FlDELlTY NAT|ONAL TiTLE lNSURANCE COMPAN¥

(E) "Note " means the promissory note signed by Borrower and dated MARCH 7, 2997

The Note states that Borrower owes Lender SlX HUNDRED TH|HTY-ONE THOUSAND '
TWO HUNDRED AND NO!100 Do|iars

(U S S... ..9§.1. .2.99- .99... .. ..) plus interest Borrower has promised to pay this debt in regular
Periodic Payments and to pay the debt in full not laterthan APRIL1, 2031

(F) “Property" means the property that is described below under the heading "Transfer of
Rights in the Property"

(G) "Lo\n" means the debt evidenced by the Note, plus interest any prepayment charges
antd late charges due under the Note, and all sums due under this Security instrument plus
n erest.

(H) "Riders" means ali Riders to this Security instrument that are executed by Borrower.

The following Riders are to be executed by Borrower [check box as applicab|e]:

[:l Adjustable Rate Rider i:l Condominium Fllder I:iSecond Home Fiider
[:l Balloon Rider ill Planned Unit Development Fiider m 1-4 Faml|y aider
|:| vA nier ij eiweekiy Paymenr aider l:]orher(s) {specify]

(l) “Applicd)le Law" means all controlling applicable federal, state and local statutes
regulations ordinances and administrative rules and orders (that have the effect of law) as
well as all applicable tina|. non-appealable judicial opinions

(.i) "Community Auocidion Dues, Fees, end Aemements" means all dues. fees.
assessments and other charges that are imposed on Borrower or the Property by a
condominium association, homeowners association or similar organization

(K) "Elecb'onic Funde Transter" means any transfer of funds. other than a transaction
originated by check, draft or similar paper instrument which is initiated through an
electronic terminal, telephonic instrument computer, or magnetic tape so as to order.
instruct, or authorize a financial Institution to debit or credit an account Such term includes,
but is not limited to. point-of-sale transfers automated teller machine transactions transfers
initiated by telephone. wire transfers and automated clearinghouse transfers

(L) "Eecrow lhms" means those items that are described in Section 3.

(M) "Mlscelleneous Proceeds" means any compensation, settlement award of damages or
proceeds paid by any third party (other than insurance proceeds paid under the coverages
described in Section 5) for: (l) damage to, or destruction of, the Property; (ii) condemnation
or other taking of ali or any part ofthe Property; (ili) conveyance in lieu of condemnation; or
(iv) misrepresentations of, or omissions as to, the value and/or condition ofthe Property.

(N) "Morbgage lnsurance" means insurance protecting Lender against the nonpayment ot. Or
default on, the Loan.

(0) "Periodic Payment" means the regularly scheduled amount due for (l) principal and
interest under the Note, plus (ii) any amounts under Section 3 ofthis Secun`ty instrument
(P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Sect|on 2601 et
seq.) and its implementing regulation, Fiegulation X (24 C.F.R. Part 3500)l as they might be
amended from time to time, or any additional or successor legislation or regulation that

   

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governs the same subject matter. As used in this Security instrument "RESPA" refers to all
requirements and restrictions that are imposed in regard to a "federa|ly related mortgage
ioan“ even if the Loan does not qualify as a "federai|y related mortgage ioan" under RESPA.
(Q) "Succeesor in interest ot Borrower" means any party that has taken title tc the Property,

whether or not that party has assumed Borrower‘s obligations under the Note and/or this
Security instrument

TRANSFER OF Fi|GHTS iN THE PROPEFiTY

This Security instrument secures to Lender. (l) the repayment of the Loan, and ali renewals,
extensions and modifications of the Note; and (ii) the performance of Borrower's convenants
and agreements under this Security instrument and the Note. For this purpose. Borrower
irrevocably grants and conveys to Trustee, in trust, with power of sa|e. the following
described property located in the

County Of ALAMEDA
[Type oi` Recording Jurisdiction] [Name of Rccording Jurisdiction]

LEGAL DESCR|PTION |S ATTACHED HEF|ETO AS SCHEDULE "A" AND MADE A
PART HEREOF.

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THIS |S A PURCHASE MONEY MORTGAGE.

Pareel 10 Number~. %’U ’O’O'ZE /OZZ ’O’Z which currently has the address er
me 1NN1swooo PLAcE rsrreerj

DUBLIN [City] . Cailmeia 94568 [Zip Gode]
("Property Address"):

TOGETHER WiTH all the improvements now or hereafter erected on the property, and
ali easementsl appurtenances, and fixtures now or hereafter a part of the property. All
replacements and additions shall also be covered by this Security instrument Ali of the
foregoing is referred to in this Security instrument as the "Property."

BOFiROWER COVENANTS that Borrower is lawfully seised of the estate hereby
conveyed and has the right to grant and convey the Property and,that the Property is
unencumbered, except for encumbrances of record. Borrower warrants and will defend
generally the title to the Property against all claims and demands, subject to any
encumbrances of reoord.

THiS SECURiTY iNSTFiUMENT combines uniform covenants for national use and non-

uniform covenants with limited variations by jurisdiction to constitute a uniform security
instrument covering real property.

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UN|FORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principai, interest Eecrow ltems, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the
Note and any prepayment charges and late charges due under the Note. Borrower shall
also pay funds for Escrow items pursuant to Section 3. Payments due under the Note and
this Security instrument shall be made in U.S. currency. However, if any check or other
instrument received by Lender as payment under the Note or this Security instrument is
returned to Lender unpaid, Lender may require that any or ali subsequent payments due
under the Note and this Security instrument be made in one or more of the following forms,
as selected by Lender: (a) cash; (b) money order; (c) certified check, bank checi<, treasurer's
check or cashier‘s check, provided any such check is drawn upon an institution whose
deposits are insured by a federal agency. lnstrumentai|ty, or entity; or (d) Electronlc Funds
Transfer.

Payments are deemed received by Lender when received at the location designated in
the Note or at such other location as may be designated by Lender in accordance with the
notice provisions in Section 16. Lender may return any payment or partial payment i_f the
payment or partial payments are insufficient to bring the Loan current Lender may accept
any payment or partial payment insufficient to bring the Loan current without waiver of any
rights hereunder or prejudice to its rights to refuse such payment or partial payments in the
future, but Lender is not obligated to apply such payments at the time such payments are
accepted. if each Periodic Payment is applied as of its scheduled due date, then Lender
need not pay interest on unappiied funds. Lender may hold such unappiied funds until
Borrower makes payment to bring the Loan current if Borrower does not do so within a
reasonable period oftlme, Lender shall either apply such funds or return them to Borrower.
if not applied eadier, such funds will be applied to the outstanding principal balance under
the Note immediately prior to foreclosure No offset or claim which Borrower might have
now or in the future against Lender shall relieve Borrower from making payments due under
the Note and this Security instrument or performing the covenants and agreements secured
by this Security instrument

2. Appiication of Payments or Proceeds. Except as otherwise described in this Section 2.
all payments accepted and applied by Lender shall be applied in the following order of
priorlty: (a) interest due under the Note; (b) principal due under the Note; (c) amounts due
under Section 3. Such payments shall be applied to each Periodic Payment in the order in
which it became due. Any remaining amounts shall be applied first to late charges, second
to any other amounts due under this Security instrument and then to reduce the principal
balance ofthe Note.

if Lender receives a payment from Borrower for a delinquent Periodic Payment which
includes a sufiicient amount to pay any late charge due, the payment may be applied to the
delinquent payment and the late charge. if more than one Periodic Payment is outstanding,
Lender may apply any payment received from Borrower to the repayment of the Periodic
Payments ifl and to the extent that each payment can be paid in fuii. To the extent that any
excess exists after the payment is applied to the full payment of one or more Periodic
Paymenis, such excess may be applied to any late charges due. Voiuntary prepayments
shall be applied first to any prepayment charges and then as described in the Note.

   

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Any application of payments, insurance proceeds. or Misceilaneous Proceeds to principal
due underthe Note shall not extend or postpone the due date, or change the amountl of the
Periodic Payments.

3. Funds for Eecrow lteme. Borrower shall pay to Lender on the day Periodic Payments
are due under the Note. until the Note is paid in full. a sum (the "Funds“) to provide for
payment et amounts due for: (a) taxes and assessments and other items which can attain
priority over this Security instrument as a lien or encumbrance on the Property; (b)
ieasehoid payments or ground rents on the Property, if any; {c) premiums for any and ali
insurance required by Lender under Section 5; and (d} Mortgage insurance premiums, if
any. or any sums payable by Borrower to Lender in lieu of the payment of Morigage
insurance premiums in accordance with the provisions of Scction iO. Thesa items arc called
“Escnow ltems." At origination or at any time during the term of the Loan, Lender may
require that Communlty Associaticn Dues, Fees, and Assessrnents, if any. be escrowed by
Borr;ower, and such dues, fees and assessments shall be an Escrow itom. Borrower shall
promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower
shall pay Lender the Funds for Escrow items unless Lender waives Borrower's obligation to
pay the Funds for any or all Escrow items. Lender may waive Borrower's obligation to pay
to Lender Funds for any or ali Escrow items at any iime. Any such waiver may only be in
writing in the event of such weiver, Borrower shall pay directly, when and where payablel
the amounts due for any Escrow items for which payment of Funds has been waived by
Lender and, if Lender requiresl shall furnish to Lender receipts evidencing such payment
within such time period as Lender may require. Borrower‘s obligation to make such
payments and to provide receipts shall for all purposes be deemed to be a covenant and
agreement contained in this Security instrumentl as the phrase "covenant and agreement"
is used in Seotlon 9. if Borrower is obligated to pay Escrow items dlrectly, pursuant,to a
waiver, and Borrower fails to pay the amount due for an Escrow item, Lender may exercise
its rights under Section 9 and pay such amount and Borrower shall then be obligated under
Section 9 to repay to Lender any such amount. Lender may revoke the waiver as to any or
ali Escrow items at any time by a notice given |n accordance with Sectlon 15 and, upon such
revocation, Borrower shall pay to Lender all Fundsl and in such amounts, that are then
required under this Section 3.

Lender may, at any tlme, collect and hold Funds in an amount (a) sufficient to permit
Lender to apply the Funds at the time specified under RESPAl and (b) not to exceed the
maximum amount a lender can require under FiESPA. Lender shall estimate the amount of
Funds due on the basis of current data and reasonable estimates of expenditures of future
Escrow items or otherwise in accordance with Appiicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity (inc|uding Lender. if Lender is an institution whose deposits are so
insured) or in any Federal Home Loan Bank. Lender shall apply the Funds to pay the
Escrow items no later than the time specified under RESPA. Lender shall not charge
Borrower for holding and applying the Fundsl annually analyzing the escrow account, or
verifying the Escrow itemsl unless Lender pays Borrower interest on the Funds and
Appiicable Law permits Lender to make such a charge. Un|ess an agreement is made in
writing or Appiicable Law requires interest to be paid on the Funds, Lender shall not be

   

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required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can
agree in writing, however, that interest shall be paid on the Funds. Lender shall give to
Borrower, without charge, an annual accounting of the Funds as required by FiESPA.

lfthere is a surplus of Funds held in escrow, as defined under RESPA, Lender shall
account to Borrower for the excess funds in accordance with RESPA. if there is a shortage
of Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required
by RESPA. and Borrower shall pay to Lender the amount necessary to make up the
shortage in accordance with FiESPA, but in no more than 12 monthly payments. if there is a
deficiency of Funds held in escrow, as defined under RESPA, Lender shall notify Borrower
as required by FiESPA, and Borrower shall pay to Lender the amount necessary to make up
the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

Upon payment in full of ali sums secured by this Security instrument, Lender shall
promptly refund to Borrower any Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and
impositions attributable to the Property which can attain priority over this Security
lnstrument, leasehold payments or ground rents on the Property, if any. and Community
Association Dues, Fees, and Assessmentsl if any. To the extent that these items are Escrow
itemsl Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security
instrument unless Borrower: (a) agrees in writing to the payment ofthe obligation secured
by the lien in a manner acceptable to Lenderl but only so long as Borrower is performing
such agreement; (b) contests the lien in good faith by, or defends against enforcement of
the lien in, legal proceedings which in Lender's opinion operate to prevent the enforcement
of the lien while those proceedings are pending. but only until such proceedings are
conciuded; or (c) secures from the holder cf the lien an agreement satisfactory to Lender
subordinating the lien to this Security instrument if Lender determines that any part of the
Property is subject to a lien which can attain priority over this Security instrument. Lender
may give Borrower a notice identifying the iien. Within 10 days of the date on which that
notice is given, Borrower shall satisfy the lien or take one or more of the actions set forth
above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification
and/or reporting service used by Lender in connection with this Loan.

5. Property lnaurance. Borrower shall keep the improve merits now existing or hereafter
erected on the Property insured against loss by fire, hazards included within the term
'extended coverage,° and any other hazards including, but riot limited to, earthquakes and
fioods, for which Lender requires insurance. Thls insurance shall be maintained in the
amounts (lnciuding deductible leveis) and for the periods that Lender requires. What Lender
requires pursuant to the preceding sentences can change during the term ofthe Loan. The
insurance carrier providing the insurance shall be chosen by Borrower subject to Lender‘s
right to disapprove Borrower's choice, which right shall not be exercised unreasonab|y.
Lender may require Borrower to pay. in connection with this Loanl either: (a) a one-time
charge for flood zone determinationl certification and tracking services; or (b) a one-time
charge for flood zone determination and certification services and subsequent charges each
time remappings or similar changes occur which reasonably might affect such determination

   

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or certification Borrower shall also be responsible for the payment of any fees imposed by
the Federal Emergency Management Agency in connection with the review of any flood
zone determination resulting from an objection by Borrower.

if Borrower fails to maintain any of the coverages described above, Lender may obtain
insurance coverage, at Lender's option and Borrower's expense. Lender is under no
obligation to purchase any particulartype or amount of coverage. Therefore, such coverage
shall cover Lender, but might or might not protect Borrowerl Borrower‘s equity in the
Property, or the contents of the Property, against any risk, hazard or liability and might
provide greater or lesser coverage than was previously in effect. Borrower acknowledges
that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtained. Any amounts disbursed by Lender under
this Section 5 shall become additional debt of Borrower secured by this Security lnstrument.
These amounts shall bear interest at the Note rate from the date of disbursement and shall
be payabie, with such interest, upon notice from Lender to Borrower requesting payment.

Ali insurance policies required by Lender and renewals of such policies shall be subiect
to Lender's right to disapprove such poiicies, shall include a standard mortgage ciause. and
shall name Lender as mortgagee andror as an additional loss payee and Borrower further
agrees to generally assign rights to insurance proceeds to the holder of the Note up to the
amount of the outstanding loan balance. Lender shall have the right to hold the policies
and renewal certificates if Lender requires, Borrower shall promptly give to Lender ali
receipts of paid premiums and renewal notices. if Borrower obtains any form of insurance
coverage. not otherwise required by Lender. for damage to, or destruction ofl the Property,
such policy shall include a standard mortgage clause and shall name Lender as mortgagee
and/or as an additional loss payee.

in the event of ioss, Borrower shall give prompt notice to the insurance carrier and
Lender. Lender may make proof of loss if not made promptly by Borrower. Unless Lender
and Borrower otherwise agree in writing, any insurance proceeds, whether or not the
underlying insurance was required by Lender. shall be applied to restoration or repair of the
Property, if the restoration or repair is economically feasible and Lender's security is not
lessened. During such repair and restoration period, Lender shall have the right to hold
such insurance proceeds until Lender has had an opportunity to inspect such Property to
ensure the work has been completed to Lender's satisfaction, provided that such inspection
shall be undertaken promptiy. Lender may disburse proceeds for the repairs and
restoration in a single payment or in a series of progress payments as the work is
compieted. Uniess an agreement is made in writing or Appiicable Law requires interest to
be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such proceeds. Fees for public adjusters, or other third parties.
retained by Borrower shall not be paid out of the insurance proceeds and shall be the sole
obligation of Borrower. if the restoration or repair is not economically feasible or Lender's
security would be iessened, the insurance proceeds shall be applied to the sums secured
by this Security instrument, whether or not then due, with the excess, if any. paid to
Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.

if Borrower abandons the Property, Lender may nie. negotiate and settle any available
insurance claim and related matters |f Borrower does not respond within 30 days to a
notice from Lender that the insurance carrier has offered to settle a claiml then Lender may
negotiate and settle the ciaim. The 30-day period will begin when the notice is given. in

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either event, 0er ‘Lenile'r acquires the Property under Section 22 or otherwise, Borrower
hereby assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount not
to exceed the amounts unpaid under the Note or this Security instrument, and (b) any other
of Borrower's rights (other than the right to any refund of unearned premiums paid by
Borrower) under ali insurance policies covering the Property, insofar as such rights are
applicable to the coverage of the Property. Lender may use the insurance proceeds either
to repair or restore the Property or to pay amounts unpaid under the Note or this Security
instrumentl whether or not then due.

6. Occupancy. Borrower shall occupy. establish, and use the Property as Borrower's
principal residence within 60 days after the execution of this Security instrument and shall
continue to occupy the Property as Borrower's principal residence for at least one year after
the date of occupancy, unless Lender otherwise agrees in writingl which consent shall not
be unreasonably withheid. or unless extenuating circumstances exist which are beyond
Borrower's controi.

7. Preservation. Maintenance and Pretection of the Property; inspections Borrower
shall not destroyl damage or impair the Property, allow the Property to deteriorate or
commit waste on the Property. Whether or not Borrower is residing in the Property,
Borrower shall maintain the Property in order to prevent the Property from deteriorating or
decreasing in value due to its oondition. Uniess it is determined pursuant to Section 5 that
repair or restoration is not economically feasibie, Borrower shall promptly repair the
Property if damaged to avoid further deterioration or damage. if insurance or condemnation
proceeds are paid in connection with damage tol or the taking of, the Property, Borrower
shall be responsible for repairing or restoring the Property only if Lender has released
proceeds for such purposes Lender may disburse proceeds for the repairs and restoration
in a single payment or in a series of progress payments as the work is completed. if the
insurance or condemnation proceeds are not sufficient to repair or restore the Property,

Borrower is not relieved of Borrower's obligation for the completion of such repair or
restoration

Lender or its agent may make reasonable entries upon and inspections ofthe Property.
if it has reasonable causel Lender may inspect the interior of the improvements on the
Property. Lender shall give Borrower notice at the time of or prior to such an interior
inspection specifying such reasonable cause.

8. Borrower's Loan Appiication. Borrower shall be in default ifl during the Loan
application process. Borrower or any persons or entities acting at the direction of Borrower
or with Borrower's knowledge or consent gave materially faise, misleading, or inaccurate
information or statements to Lender (or failed to provide Lender with material information)
in connection with the Loan. Materiai representations inciude, but are not limited to,

representations concerning Borrower's occupancy of the Property as Borrower's principal
residence.

9. Protection of Lender's interest in the Property and Rights Under this Security _
instrument if (a) Borrower fails to perform the covenants and agreements contained in this
Security instrument, (b) there is a legal proceeding that might signihcantiy affect Lender's
interest in the Property and/or rights under this Security instrument (such as a proceeding
in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which may
attain priority over this Security instrument or to enforce laws or regulations), or

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(c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lender's interest in the Property and rights under this
Security instrument, including protecting and/or assessing the value of the Property, and
securing and/or repairing the Property. Lender's actions can include, but are not limited to:
(a) paying any sums secured by a lien which has priority over this Security instrument; (b)
appearing in court; and (c) paying reasonable attorneys' fees to protect its interest in the
Property and/or rights under this Security instrumentl including its secured position in a
bankruptcy proceeding Securing the Property includes, but is not limited to, entering the
Property to make repairs, change iocks, replace or board up doors and windows. drain
water from pipes, eliminate building or other code violations or dangerous conditions. and
have utilities turned on or off. Although Lender may take action under this Section 9.
Lender does not have to do so and ls not under any duty or obligation to do so. it is agreed
that Lender incurs no liability for not taking any or ali actions authorized under this Section
9.

Any amounts disbursed by Lender underthis Section 9 shall become additional debt of
Borrower secured by this Security instrument. These amounts shall bear interest at the
Note rate from the date of disbursement and shall be payable, with such interest, upon
notice from Lender to Borrower requesting payment.

if this Security instrument is on a ieaseho|d, Borrower shall comply with all the
provisions of the iease. if Borrower acquires fee title to the Property, the leasehold and the
fee title shall not merge unless Lender agrees to the merger in writing.

10. Morwage lnwrance. lf Lender required Mortgage insurance as a condition of
making the Loanl Borrower shall pay the premiums required to maintain the Mortgage
insurance in effect. if, for any reason, the Mortgage insurance coverage required by Lender
ceases to be available from the mortgage insurer that previously provided such insurance
and Bon'ower was required to make separately designated payments toward the premiums
for Mortgage insurance, Borrower shall pay the premiums required to obtain coverage
substantially equivalent to the Mortgage insurance previously in effectl at a cost
substantially equivalent to the cost to Borrower of the Mortgage insurance previously in
etfect, from an alternate mortgage insurer selected by Lender. lf substantially equivalent
Mortgage insurance coverage is not availabie. Borrower shall continue to pay to Lender the
amount of the separately designated payments that were due when the insurance coverage
ceased to be in effect. Lender will accept. use and retain these payments as a
non-refundable loss reserve in lieu of Mo\tgage insurance. Such loss reserve shall be
non-refundablel notwithstanding the fact that the Loan is ultimately paid in fuii, and Lender
shell not be required to pay Borrower any interest or earnings on such loss reserve.
Lender can no longer require loss reserve payments if Mortgage insurance coverage (in the
amount and for the period that Lender requires) provided by an insurer selected by Lender
again becomes availabie, is obtained, and Lender requires separately designated payments
toward the premiums for Mortgage |nsurance. if Lender required Mortgage insurance as a
condition of making the Loan and Borrower was required to make separately designated
payments toward the premiums for Mortgage insuranee, Borrower shall pay the premiums
required to maintain Mortgage insurance in elfect, or to provide a non-refundable loss
reserve, until Lender's requirement for Mortgage insurance ends in accordance with any
written agreement between Borrower and Lender providing for such termination or until

termination is required by Appiicable Law. Nothing in this Section 10 affects Borrower's
obligation to pay interest at the rate provided in the Note.

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Mortgage insurance reimburses Lender (or any entity that purchases the Note) for
certain losses it may incur if Borrower does not repay the Loan as agreed. Borrower is not
a party to the Mortgage lnsurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to
time, and may enter into agreements with other parties that share or modify their risk, or
reduce |osses. These agreements are on terms and conditions that are satisfactory to the
mortgage insurer and the other party (or parties) to these agreements These agreements
may require the mortgage insurer to make payments using any source of funds that the
mortgage insurer may have available (which may include funds obtained from Mortgage
insurance premiums).

As a result ofthese agreements. Lender. any purchaser ofthe Note. another insurer,
any reinsurerl any other entity, or any attiiiate of any of the foregoing, may receive (dlrectly
or indirectly) amounts that derive from (or might be characterized as) a portion of
Borrower's payments for Mortgage |nsurance, in exchange for sharing or modifying the
mortgage insurer‘s risk, or reducing iosses. if such agreement provides that an afli|iate of
Lender takes a share ofthe insurer‘s risk in exhange for a share of the premiums paid to
the insurer, the arrangement is otten termed "captlve reinsurance.“ Further:

(e) Any such agreements will not affect the smount:s that Borrower has agreed to pay
for Mortgsge lnsursnce, or any other terms of the Loen. Such agreements will not increase
the amount Borrower will owe tor Mortgege lnsursnce, end they will not entitle Borrower to
any relund.

(b) Any such agreements will not affect the rights Borrower has ~ it any - with respect
to the Mortgsge lowrance under the Homeowners Prot»ction Act of 1998 or any other lsw.
These rights may include the right to receive certain disclosures, to request and obtain
cancellation et the Mortgsge insurence, to have the Niertgsge insurance terminated
automatically, end/or to receive s refund ot any Morligsge insurance premiums that were
unearned et the time ot such cancellation or termination

11. Assignment ot Misceilaneous Proceeds; Fortelturs. Ali Misceilaneous Proceeds are
hereby assigned to and shall be paid to Lender.

|f the Property ls damaged. such Misceilaneous Proceeds shall be applied to
restoration or repair ofthe Property, if the restoration or repair is economically feasible and
Lender's security is not |essened. During such repair and restoration period, Lender shall
have the right to hold such Misceilaneous Proceeds until Lender has had an opportunity to
inspect such Property to ensure the work has been completed to Lender's satisfaction,
provided that such inspection shall be undertaken promptly. Lender may pay for the repairs
and restoration in a single disbursement or in a series of progress payments as the work is
compieted. Uniess an agreement is made in writing or Appiicable Law requires interest to
be paid on such Misceilaneous Proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such Misceilaneous Proceeds. if the restoration or repair is not
economically feasible or Lender's security would be lessenedl the Misceilaneous Proceeds
shall be applied to the sums secured by this Security instrument, whether or not then due,
with the excess, if any. paid to Borrower. Such Misceilaneous Proceeds shall be applied in
the order provided lorin Section 2.

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in the event of a total taking.__destruction. or loss in value of the Property, the
Misceilaneous Proceeds shall be applied to the sums secured by this Security instrument,
whether or not then due, with the excess, if any. paid to Borrower.

in the event of a partial taking, destruction, or loss in value of the Property in which the
fair market value of the Property immediately before the partial taking, destruction. or loss
in value is equal to or greater than the amount of the sums secured by this Security
instrument immediately before lite partial taking, destruction, or loss in valuel unless
Borrower and Lender otherwise agree in writing. the sums secured by this Security
instrument shall be reduced by tha amount of the Misceilaneous Proceeds multiplied by the
following traction: (a) the total amount ot the sums secured immediately before the partial
taking, destruction, or loss in value divided by (b) the fair market value of the Property
immediately before the partial taking, destruction. or loss in value. Any balance shall be
paid to Borrower.

in the event of a partial taking, destruction. or loss in value ot the Property in which the
fair market value ofthe Property immediately before the partial taking, destruction, or loss
in value is less than the amount of the sums secured immediately before the partial taking,
destruction, or loss in valuel unless Borrower and Lender otherwise agree in writingl the
Misceilaneous Proceeds shall be applied to the sums secured by this Security instrument
whether or not the sums are then due.

ifthe Property is abandoned by Borrowerl or if, alter notice by Lender to Borrower that
the Opposing Party (as deuned in the next sentencel oilers to make an award to settle a
claim for damages, Borrower fails to respond to Lender within 30 days alter the date the
notice is given. Lender is authorized to collect and apply the Misceilaneous Proceeds either
to restoration or repair of the Property or to the sums secured by this Security instrument,
whether or not then due. "Opposing Party“ means the third party that owes Borrower
Misceilaneous Proceeds or the party against whom Borrower has a right of action in regard
to Misceilaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is
begun that, in Lender's judgment, could result in forfeiture of the Property or other material
impairment of Lender's interest in the Property or rights under this Security instrument.
Borrower can cure such a default and, ifacceleration has occurred, reinstate as provided in
Section 19, by causing the action or proceeding to be dismissed with a ruling that. in
Lender's judgment1 precludes forfeiture of the Property or other material impairment of
Lender's interest in the Property or rights under this Security instrument, The proceeds of
any award or claim for damages that are attributable to the impairment of Lender's interest
in the Property are hereby assigned and shall be paid to Lender.

Ali Misceilaneous Proceeds that are not applied to restoration or repair of the Property
shall be applied in the order provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Nut a Waiver. Extension ofthe time
for payment or modification of amortization of the sums secured by this Security instrument
granted by Lender to Borrower or any Successor in interest of Borrower shall not operate to
release the liability of Borrower or any Successors in interest of Borrower. Lender shall not
be required to commence proceedings against any Successor in interest of Borrower or to
refuse to extend time for payment or otherwise modify amortization of the sums secured by

   

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this Security instrument by reason of any demand made by the original Borrower or any
Successors in interest of Borrower. Any forbearance by Lender in exercising any right or
remedy inciuding, without limitationl Lender's acceptance of payments from third persons,
entities or Successors in interest of Borrower or in amounts less than the amount then duel
shall not be a waiver of or preclude the exercise of any right or remedy.

13. .ioint and Saveral Liabti'rty; Co-eigners; Successors and Assigns Bound. Borrower
covenants and agrees that Borrower's obligations and liability shall be joint and severa|.
However. any Borrower who cosigns this Security instrument but does not execute the Note
(a "co-slgner"): (a) is co-signing this Security instrument only to mortgage, grant and convey
the co-signer's interest in the Property under the terms ofthis Security |nstrument; (b) is not
personally obligated to pay the sums secured by this Security instrument; and (c) agrees
that Lender and any other Borrower can agree to extend, modifyl forbear or make any
accommodations with regard to the terms of this Security instrument or the Note without the
co-signer's consent.

Subject to the provision of Section 18, any Successor in interest of Borrower who
assumes Borrower's obligations under this Security instrument in writing, and is approved
by Lender. shall obtain ali of Borrower's rights and benefits under this Security instrument.
Borrower shall not be released from Borrower's obligations and liability under this Security
instrument unless Lender agrees to such release in writing. The covenants and agreements
of this Security instrument shall bind (except as provided in Section 20) and benefit the
successors and assigns of Lender.

14. Loan Cl\argeo. Lender may charge Borrower fees for services performed in
connection with Borrower's default, for the purpose of protecting Lender's interest in the
Property and rights under this Security instrument, inciuding, but not limited to, attorneys’
fees, property inspection and valuation fees. in regard to any other fees, the absence of
express authority in this Security instrument to charge a specific fee to Borrower shall not
be construed as a prohibition on the charging of such fee. Lender may not charge fees that
are expressly prohibited by this Security instrument or by Appiicable Law.

if the Loan is subject to a law which sets maximum loan charges, and that law is finally
interpreted so that the interest or other loan charges collected or to be collected in
connection with the Loan exceed the permitted limits, then: (a) any such loan charge shall
be reduced by the amount necessary to reduce the charge to the permitted limlt; and (b)
any sums already collected from Borrower which exceeded permitted limits will be refunded
to Borrower. Lender may choose to make this refund by reducing the principal owed under
the Note or by making a direct payment to Borrower. if a refund reduces principai‘ the
reduction will be treated as a partial prepayment without any prepayment charge (whether
or not a prepayment charge is provided for under the Note). Borrower's acceptance of any
such refund made by direct payment to Borrower will constitute a waiver of any right of
action Borrower might have arising out of such overcharge.

15. Noticec. Ali notices given by Borrower or Lender in connection with this Security
instrument must be in writing. Any notice to Borrower in connection with this Security
instrument shall be deemed to have been given to Borrower when mailed by nrst class mail
or when actually delivered to Borrower's notice address if sent by other means. Notice to
any one Borrower shall constitute notice to ali Borrowers unless Appiicable Law expressly

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requires otherwise;"The"`rii)tice address shall be the Property Address unless Borrower has
designated a substitute notice address by notice to Lender. Borrower shall promptly notify
Lender of Borrower's change of address if Lender specifies a procedure for reporting
Borrower's change of addressl then Borrower shall only report a change of address through
that specified procedure. There may be only one designated notice address under this
Security instrument at any one time. Any notice to Lender shell be given by delivering it or
by mailing it by first class mail to Lenderls address stated herein unless Lender has
designated another address by notice to Borrower. Any notice in connection with this
Security instrument shall not be deemed to have been given to Lender until actually
received by Lender. li' any notice required by this Security instrument is also required
under Appiicable Law, the Appiicable Law requirement will satisfy the corresponding
requirement under this Security instrument.

16. Governing Law; Severabllity; Ruiee ot Construction. Thls Security instrument shall
be governed by federal law and the law of the jurisdiction in which the Property is located.
Ali rights and obligations contained in this Security instrument are subject to any
requirements and limitations of Appiicable Law. Appiicable Law might explicitly or implicitly
allow the parties to agree by contract cr it might be silent, but such silence shall not be
construed as a prohibition against agreement by contract. in the event that any provision or
clause of this Security instrument or the Note conflicts with Appiicable Law, such conflict
shall not affect other provisions of this Security instrument or the Note which can be given
effect without the conflicting provision.

As used in this Security instrument (a) words of the mascuiine gender shall mean and
include corresponding neuter words or words of the feminine gender; (b) words in the
singular shall mean and include the plural and vice versa; and (c) the word "may" gives
sole discretion without any obligation to take any action.

11. Borrower's Copy. Borrower shall be given one copy of the Note and of this
Security instrument.

18. Trenefer ofthe Property or a Beneficiel interest in Borrower. As used in this
Section 16, 'lnterest in the Property" means any legal or beneficial interest in the Property.
|nciudlng, but not limited tol those beneficial interests transferred in a bond for deed,
contract for deed, installment sales contract or escrow agreement, the intent of which is the
transfer of title by Borrower at a future date to a purchaser.

if ali or any part of the Property or any interest in the Property is sold or transferred (or
if Borrower is not a natural person and a beneficial interest in Borrower is sold or
transferred) without Lender's prior written consentl Lender may require immediate payment
in full of all sums secured by this Security instrument. However, this option shall not be
exercised by Lender if such exercise is prohibited by Appiicable Law.

if Lender exercises this option, Lender shall give Borrower notice of acceleration The
notice shall provide a period of not less than 30 days from the date the notice is given in
accordance with Section 15 within which Borrower must pay all sums secured by this
Security instrument. |f Borrower fails to pay these sums prior to the expiration of this
period, Lender may invoke any remedies permitted by this Security instrument without
further notice or demand on Borrower.

   

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19. Borrowe`r‘s` Right to Reinstate After Acce|eration. if Borrower meets certain
conditions, Borrower shall have the right to have enforcement of this Security instrument
discontinued at any time prior to the eariiest of: (a) five days before sale of the Property
pursuant to any power of sale contained in this Security instrument; (b) such other period as
Appiicable Law might specify for the termination of Borrower's right to reinstate; or (c) entry
of a judgment enforcing this Security instrument. Those conditions are that Borrower: (a)
pays Lender all sums which then would be due under this Security instrument and the Note
as if no acceleration had occurred; (b) cures any default of any other covenants or
agreements; (c) pays ali expenses incurred in enforcing this Security instrument. inciuding,
but not limited to, reasonable attomeys' fees, property inspection and valuation fees, and
other fees incurred forthe purpose of protecting Lender's interest in the Property and rights
under this Security instrument; and (d) takes such action as Lender may reasonably require
to assure that Lender's interest in the Property and rights under this Security instrument,
and Borrower's obligation to pay the sums secured by this Security instrument, shall
continue unchanged. Lender may require that Borrower pay such reinstatement sums and
expenses in one or more of the following forms, as selected by Lender: (a) cash; (b) money
order; (c) certified check, bank check, treasurer's check or cashier‘s check, provided any
such check is drawn upon an institution whose deposits are insured by a federal agencyl
instrumentality or entity; or (di Eiectronic Funds Transfer. Upon reinstatement by Borrower.
this Security instrument and obligations secured hereby shall remain fully effective as if no

acceleration had occurred. However, this right to reinstate shall not apply in the case of
acceleration under Section 18.

20. Saia of Nob; Change of Loan Servicer; Notice of Grievance. The Note or a partial
interest in the Note (together with this Security instrument) can be sold one or more times
without prior notice to Borrower. A sale might result in a change in the entity (known as the
"Loan Servicer") that collects Periodic Payments due under the Note and this Security
instrument and performs other mortgage loan servicing obligations under the Note, this
Security instrumentl and Appiicable Law. There also might be one or more changes of the
Loan Servicer unrelated to a sale of the Note. if there is a change of the Loan Servicer,
Borrower will be given written notice of the change which will state the name and address
of the new Loan Servicerl the address to which payments should be made and any other
information RESPA requires in connection with a notice cf transfer or servicing. if the Note
is sold and thereafter the Loan is serviced by a Loan Servicer other than the purchaser of
the Note, the mortgage loan servicing obligations to Borrower will remain with the Loan
Servicer or be transferred to a successor Loan Servicer and are not assumed by the Note
purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence. ioin, or be joined to any judicial action
(as either an individual litigant or the member of a class) that arises from the other party's
actions pursuant to this Security instrument or that alleges that the other party has
breached any provision of, or any duty owed by reason of, this Security instrument, until
such Borrower or Lender has notified the other party (with such notice given in compliance
with the requirements of Section 15) of such alleged breach and afforded the other party
hereto a reasonable period after the giving of such notice to take corrective action. if
Appiicable Law provides a time period which must elapse before certain action can be
taken, that time period will be deemed to be reasonable for purposes ofthis paragraph

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The notice of acceleration and opportunity to cure given to Borrower pursuant to Section 22
and the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to
satisfythe notice and opportunity to take corrective action provisions ofthis Sectlon 20.

21. Hazardous Substancea. As used in this Sect|on 211 (a) 'Hazardous Substances"
are those substances defined as toxic or hazardous substancesl pollutantsl or wastes by
Environmentai Law and the following substances: gasoilna, kerosenel other flammable or
toxic petroleum productsl toxic pesticides and herbicides, volaiiie solvents. materials
containing asbestos or forrnaidehyde, and radioactive materials; ibi "Environmental Law"
means federai laws and laws of the jurisdiction where the Property is located that relate to
health, safety or environmental protection; {c) "Environmenta| Chaanupll includes any
response action. remedial action, or removal action, as defined in Environmental Law; and
(d) an "Env|ronmentai Condition" means a condition that can cause, contribute tol or
otherwise trigger an Environment Cieanup.

Borrower shall not cause or permit the presence, use, disposai, storage, or release of
any Hazardous Substances, or threaten to release any Hazardous Substances, on or in the
Property. Borrower shall not do, nor allow anyone else to do, anything affecting the
Property (a) that is in violation of any Environmentai Law. (b) which creates an
Environmenta| Conditicn, or (c) which, due to the presence, use, or release of a Hazardous
Substance, creates a condition that adversely affects the value of the Property. The
preceding two sentences shall not apply to the presence, use.. or storage on the Property of
small quantities of Hazardous Substances that are generally recognized to be appropriate to
normal residential uses and to maintenance of the Property (includ|ng, but not limited to,
hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigationl claiml
demand. lawsuit or other action by any governmental or regulatory agency or private party
involving the Property and any Hazardous Substance or Environmental Law of which
Borrower has actual knowledge. fbi any Environmeniai Condiiion. including but not limited
to. any spilling, iealring, discharge release orthraat of release cf any Hazardous Substance.
and (c} any condition caused by the prosencei use or release of a Hazardous Substance
which adversely affects the value of the Property. if Borrower learns, or is notified by any
governmental or regulatory authority, or any private party. that any removal or other
remediation of any Hazardous Substance affecting the Property is ru‘.tr.tessaryl Borrower shall
promptly take ali necessary remedial actions in accordance with Environmental Lavv.
Nothing herein shall create any obligation on Lender for an Environmental Cieanup.

NON-UNiFOFiM COVENANTS. Borrower and Lender further covenant and agree as
follows:

22. Acceieration; Remedles. Lender shall give notice to Borrower prior tro acceleration
foliowlng Borrower's breach of any covenant or agreement fn this Security instrument foot
not prior to acceleration under Saction 18 unless Appiicable Law provides otherwlae}._ The
notice shall epecify: (a) the default {b] the action required to cure the default {c) a dai»,
not less than 30 days from the date the notice is given to Borrower. by which the default
must be cured; and (d) that failure to cure the default orr cr before the date specified fn the
notice may result in acceleration of the sums secured by this Security instrument and safe
of the Property, The notice shall further inform Borrower of the right to reinstate after
acceleration and the right to bring a court action to assert the nonexistence of a defauit or
any other defense of Borrower to acceleration and saie. if the default is not cured on or

   

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before the datespocified in the notice, Lender at itc option may require immediate payment
in full ot ali sums secured by this Security instrument without further demand and may
invoke the power ot sale and any other remedies permitted by Appiicable Law. Lender shall
be entitled to collect ali expenses incurred in pursuing the remedies provided in this Sectlon
22, including, but not limited to, reasonable attorneye' fees and costs ct title evidence.

lt Lender invokes the power ct saie. Lender shelf execute or cause Trustee to execute
a written notice of the occurrence of an event ot default and of Lender's election to cause
the Property to be soid. Trustee shall cause this notice to be recorded in each county in
which any part ct the Property is iocated. Lender or Trustee shall mail copies ot the notice
as prescribed by Appiicable Law to Borrower and in the other persons prescribed by
Appiicable Law. Trustee shall give public notice ot cole to the persons and in the manner
prescribed by Appiicable Law. After the time required by Appiicable Law. Trustee, without
demand on Borrower. shall cell the Property at public auction to the highest bidder at the
time and place and under the terms designated in the notice ot sale in one or more parcels
and in any order Trustee determinee. Trustee may postpone sale of all or any parcel ot the
property by public announcement et the time and place ot any previously scheduled saie.
Lender or itc designee may purchase the Property at any saie.

Trustee shall deliver to the purchaser Trustec‘s deed conveying the Property without
any covenant or warranty, expressed or impiied. The recith in the Trustee‘s deed shall be
prima facie evidence of the truth of the statements made therein. Trustee shall apply the
proceeds of the sale in die toiiowing ordor: (a) to all expenses of the cale, inciuding, but not
limited to, reasonable Trustee's and attomeye' fees; (b) to ali sums secured by this Security
lnetrument; and (c) any excess to the person or persons legally entitled w it.

23. Reconveyance. Upon payment of all sums secured by this Security instrument.
Lender shall request Trustee to reconvey the Property and shall surrender this Security
instrument and all notes evidencing debt secured by this Security instrument to Trustee.
Trustee shall reconvey the Property without warranty to the person or persons legally
entitled to it. Lender may charge such person or persons a reasonable fee for reconveyan
the Property, but only if the fee is paid to a third party (such as the Trustee) for services
rendered and the charging ot the fee is permitted under Appiicable Law. ifthe fee charged
does not exceed the fee set by Appiicable Law‘ the fee is conclusively presumed to be
reasonable

24. Substitute Trustee. Lender_, at its option, may from time to time appoint a
successor trustee to any Trustee appointed hereunder by an instrument executed and
acknowledged by Lender and recorded in the office of the Ftecorder of the county in which
the Property is located The instrument shall contain the name of the original Lender.
Trustee and Borro\.vert the hook and page where this Security instrument is recorded and
the name and address of the successor trustee. Without conveyance of the Property, the
successor trustee shall succeed to ali the titlel powers and duties conferred upon the
Trustee herein and by Appiicable Law. Thls procedure for substitution of trustee shall
govern to the exclusion of ali other provisions for substitution

25. Staiiement of Obiigation Fee. Lender may collect a fee not to exceed the
maximum amount permitted by Appiicable Law for furnishing the statement of obligation as
provided by Section 2943 ofthe Civil Code of California.

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BY S|GNlNG BELOW, Borrower accepts and agrees to the terms and covenants contained |n
this Security lnstrument and ln any Rider executed by Borrower and recorded wlth \t.

Wltnesses:

 

UIEHAF£B §.";J"KCDBI _ Borrower

 

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State of California. ee:
County of _ALMN\@J>(\

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personally appeared
RlCHARD A. JACOB|K AND CHF||ST|NE S. JACOB|K, HUSBAND AND W|FE

Non-Bon'ower: CHR|ST|NE S. JACOBIK

.P“GO*€
[or proved fo me on lhe basis of satisfactory evidenco} lo be the person(s) whose name(s}
Mare subscribed to me wihin instrument and acknowledged to me thai ' / they
executed the same in h ya€fheir authorized oapaciiy[ies]. and that by fbAF/lheir
slgnature{s} on the ins!rumeni lha person[s) orlhe entily upon behalf of which the person(s)
acfed, executed the instrument.

W|TNESS my hand and official seai.

(Seal)

 

 

    

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waste No.= cncn7701-7707-2383-0059011409
ride Na.: 07-59011409-MK

EXHIBIT "A"

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF DUBLIN, COUNTY OF ALAMEDA, STATE OF
(`J\LIFORNIA, AND IS DESCRIBED AS FOLLOWS:

Paroel One:

Being a portion of Lot 62, as said Lot is shown on Tract 7075, filed on Aprii 18, 2001, in Map Bool< 257, Pages 47-61, as
amended by Certiiicate of Oorrect|on, recorded Aprll 18, 2002, Series No. 2002~171552, Official Records of Alameda County,
State of Caiifomia, for purposes of a Lot Llne Ad]ustrnent, being in the City of Dublin, Alameda County, Caiifomia, and being
more particularly described as follows:

Beglnnlng at the most southwestern corner cf said Lot 62; thence along the westerly line of said Lot 62, N 03° 24‘ 16" E,
37.00 Feet to the norli'lerly line of said Lot 62; thence along said northerly |ine, S 86° 35' 44" E, 45.00 feet; thence N 03° 24‘
16" E, 3.00 feet; thence 5 BG° 35' 44" E, 17.08 feet; thence N 03° 24‘ 16“ E, 31.00 feet to the northerly line of said Lot 62;
thence along said northerly iine, S 86° 35' 44" E, 13.92 feet; Utence leaving said northerly line, S 03° 24‘ 16" W, 42.17 feet;
thence S 86° 35' 44" E, 2.00 feet to the easterly line of said Lot 62; thence along said easterly line, S 03° 24‘ 16" W, 33.83
feet to the southerly line of said Lot 62; thence along said southerly |ine, N 86° 35' 44" W, 78.00 feet to the point of
beginning.

Reserving therefrom, a non-exclusive easement for private storm drain purposes, shown as a "P.S.D.E." on said Map of Tract
7075, for the benefit of the Lot Owners in Tract 7075l

Reserving therefrom, an easement appurtenant to Lot 63, shown contiguous to Lot 63 as "3'REA" (Rec|procal Easement Area)
on said Map ofTract 7075, for installation and maintenance of private landscape facilities and recreational use of Yard Area.

Further reserving therefrom, an easement appurtenant to Lot 61, shown as "7' PDE" (Private Driveway Easement) on said Map
of Tract 7075, for Private Vehicle and Pedestrian Access Ways.

Paroel Two:

An easement, appurtenant to Parcel One, hereinabove, for installation and maintenance of Private Landscape Facilitles and
recreational use of ¥ard Area, over that portion of Lot 61 shown as "3‘REA" (Reciproca| Easement Area) on said Tract Map
7075.

Parcel Th¢ee:

An easement, appurtenant to Parcel One, hereinabove, for private vehicle and pedestrian access ways, over' that portion of Lot
61 shown as "7' PDE" (Private Driveway Easement) on said Tract Map 7075,

Part'.ei Four:

A non-exclusive easement for ingress and egress, use and enjoyment, appurtenant to Parcel One, hereinabove, over, under,
along and through the "Oommon Area" as defined in the Rlva at Tassajara Dec|aration of Restrictions, recorded December 28,
2001, Series No. 2001505672, Official Records, and any amendments and/or annexations thereto.

APN: 986-0025-023-02

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PLANNED UNIT DEVELOPMENT RIDER

0158133626

THIS PLANNED uNiT DEVELOPMENT RIDER is made this .?.!i‘..‘.i.a¥..<.>.i.MABF?.H.-..%.°.R?. ................. ,
and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of 'l`rust
or Security Deed (the "Security lnstrumcnt") of thc same date, given by thc undersigned (the
"Borrower") to secur®EBorrowcr's Note to'. ..
..; ....... &E§.EGH§Q.MN.'$-_.ii-.é ................................................................................................

. UUBUNCMMB
{Pmpgn‘y Adn!oss|

the "Lender" of the sa -\e date cl oovcrin thc P o n' described in tin c Securi lnstrumcnt and
l(ocatod at: ....)..... .4°58“1!{."|8“."0061) PLA.CE...B... rpcy`ty

i».

The Property inciudes, but is not limited io, a parcel of land improved with a dwelling, together with
other such parcels and certain common areas and facilitics, as described in

   

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(Name o/ planned Unit stslopmeni)

(the "PUD"). "l'he Property also includes Borrower's interest in thc homeowners association or
equivalent entity owning or managing thc common areas and facilities of thc PUD (the "Owncrs
Association") and the uscs, benefits and proceeds of Borrower's interest

PUD COVENANTS ln addition to the covenants and agreements made in thc Security Instrument,
Borrower and Lender further covenant and agree as follows:

A. PUD Ob\igations. Borrower shall perform all of Borrower's obligations under the PUD‘s
Constituent Documents. The "Constitucnt Documents" are the (i) Doclaration; (ii) articles of
incorporation, trust instrument or any equivalent document which creates the Owncrs Association; and
(iii) any by-iaws or other rules or regulations of the Ovimers Association. Borrower shall promptly
pay, when duc, lall dues and assessments imposed pursuant to thc Constitucnt Documents.

MULT|STATE PUD FilDER Form 31501/01 (Page 1 oi3)
Single Fam|ly - FNMA/FHLMC Un|torm instrument ECO26L iiev. 11/13/00

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B. Property lnsurance. So long as the Owners Association maintains, with a generally accepted
insurance carricr, a "master" or "blanket" policy insuring the Property which is satisfactory to Lender
and which provides insurance coverage in the amounts (including deductible levels), for the periods,
and against loss by fne, hazards included within the tenn "extended coverage," and any other hazards,
including but not limited to, earthquakes and floods, for which Lender required insurance, then: (i)
Lender waives the provision in Section 3 for the Periodic Payment to Lender of the yearly premium
installments for property insurance on the Property; and (ii) Borrower's obligation under Section 5 to
maintain property insurance coverage on the Property is deemed satisfied to the extent that the
required coverage is provided by the Owners Association policy.

What Lender requires as a condition of this waiver can change during thc ter'm of the loan.

Borrower shall give Lender prompt notice of any lapse in required property insurance coverage
provided by the master or blanket policy.

ln the event of a distribution of property insurance proceeds in lieu ol` restoration or repair following a
loss to the Property, or to common areas and facilities of the PUD, any proceeds payable to Borrower
are hereby assigned and shall be paid to Lender. Lender shall apply the proceeds to the sums secured
by the Security lnstrument, whether or not then due, with the excess, if any. paid to Borrower.

C. Plblic liability losarance. Borrower shall take such actions as may be reasonable to insure that the

Owners Association maintains a public liability insurance policy acceptable in form, amount, and
extent of coverage to Lender.

D. Condemnation. The proceeds of any award or claim for damages, direct or consequential, payable
to Borrower in connection with any condemnation or other taking of all or any part of the Property
or the common areas and facilities of the PUD, or for any conveyance in lieu of condemnation, are
hereby assigned and shall be paid to Lender. Such proceeds shall be applied by Lender to the sums
secured by the Security Instrument as provided in Section ll.

E. Lender's Prior Conseut. Borrower shall not, except after notice to Lender and with Lender's prior
written oonsent, either partition or subdivide the Property or consent to: (i) the abandonment or
termination of the PUD, except for abandonment or termination required by law in the case of
substantial destruction by fire or other casualty or in the msc of a taking by condemnation or eminent
dcmain; (ii) any amendment to any provision of the "Constitucnt Documents" if the provision is for
the express benefit of lender; (iii) tennination of professional management and assumption of
self-managemcnt of the Owners Association; or (iv) any action which would have the effect of
rendering the public liability insurance coverage maintained by the OWners Association unacceptable to

Lender.

MULT|STATE PUD R|DER Form 3\501/01 (Psge 2 013)
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F. Remedies. If Borrower does not pay PUD dues and assessments when due, then Lender may pay
thcm. Any amounts disbursed by lender under this paragraph F shall become additional debt of
Borrower secured by the Security bistrument. Uniess Borrower and Lender agree to other terms of
payment, these amounts shall bear interest from the date of disbursement at the Note rate and shall be
payable, with interest, upon notice from Lender to Borrower requesting payment

BY SIGNING BELOW, Borrower accepts and agrees to the terms and provisions contained in this

PUD Rider.
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I'UCHAHD A. JHCOB|K% 8

 
 
 
 

 

-Borrower

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PLANNED UNIT DEVEL()PMENT RIDER

0158133626

THIS PLANNED UNiT DEVELOPMENT RIDER 11 made this ?ib €*.a.v °I MAB.C.H.- 2°..°.?.. .

and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of 'l`rust

or Security Deed (the "Secur'ity Instrument") of the same date, given by the undersigned (the

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°') ° mm rii§r?ii`i‘e‘o siis'°i<‘f

the "i.ender" ol` th dal nd coverin the Pro described in the Securit Instrument and n
located ar ) §oé‘i’ir`is1s\i$o“c)n PLACE g pmy y

 
 

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....“...~~...".~~."...`~

(pwpodymm”) ......1................,.i.,....~»~~~..~»--~~--~

The Property includes, but is not limited to, a parcel of land improved with a dwelling, together with
other such parcels and certain common areas and facilities, as described in

 

(the "Declaration"). The Property is a part of a planned unit development known as

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(the "PUD"). The Property also includes Borrower's interest in the homeowners association or
equivalent entity owning or managing the common areas and facilities ol` the PUD (the "Owriers
Association") and the uses, benefits and proceeds of Borrowcr' s interest

PUD COVENANTS In addition to the covenants and agreements made in the Security Instrurnent,
Borrower and Lender further covenant and agree as follows:

A. PUD Obligations. Borrower shall perform all of Borrower's obligations under the PUD's
Constituent Documents. The "Constitucnt Documents" are the (i) Declaration; (ii) articles of
incorporation, trust instrument or any equivalent document which creates the Owners Association; and
(iii) any by-laws or other rules or regulations of the Owners Association. Borrower shall promptly
pay, When due, all dues and assessments imposed pursuant to the Constituent Documents

MULT|STATE PUD R|DER Form 3150 1101 (Page 1 013)
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B. Property Insurance. So long as the Owners Association maintains, with a generally accepted
insurmicc carricr, tx "master" or "blanl-cct" policy insuring the Property which is satisfactory to Lender
and which provides insurance coverage in the amounts (including deductible levels), for the periods,
and against loss by l`rrc, hazards included within the term "t:xtendcd ccveruge," and any other hazards,
including. but not limited to, earthquakes and lloods, for which bender required insuranoe, then: (i)
lender waives the provision in Scction 3 for the Periodic Payment to Lender ol` the yearly premium
installments for property insurance on the Property; and (ii) Borrower's obligation under Scclion 5 to
maintain property insurance coverage on the Property is deemed satisfied to the extent that the
required coverage is provided by the Owners Association policy.

What Lender requires as a condition of this waiver can change during the term ol` the loan.

Borrower shall give Lender prompt notice of any lapse in required property insurance coverage
provided by the master or blanket policy.

In the event of a distribution of property insurance proceeds in lieu ol` restoration or repair following a
loss to the Property, or to common areas and facilities cl` the PUD, any proceeds payable to Borrower
are hereby assigned and shall be paid to Lender. bender shall apply the proceeds to the sums secured
by the Security lnstrum¢nt, whether or not then due, with the excess, if any, paid to Borrower.

C. Public liability Insurance. Borrower shall take such actions as may be reasonable to insure that the
O\mers Association maintains a public liability insurance policy acceptable in fonn, amount, a_nd
extent of coverage to Lender.

D. Condemnation. The proceeds of any award or claim for damages, direct or consequential, payable
to Borrower in connection with any condemnation or other taking of all or any part of the Property
or the common areas and facilities of the PUD, or for any conveyance in lieu of condemnation, are
hereby assigned and shall be paid to Lender. Such proceeds shall be applied by Lender to the sums
secured by the Security Instrument as provided in Section ll.

E. Lender's l’rior (kmscnt. Borrower shall not, except after notice to bench and with l.,enclci"s prior
written consent, either partition or subdivide the Property or consent tc: (i) the abandonment or
termination ol` the PUD, except for abandonment or termination required by law iri thc case of
substantial destruction by fire or other casualty or in the case of a taking by condemnation or eminent
domain; (ii) any amendment to any provision of the "Constituent Documents" if the provision is for
the express benefit of bender; (iii) termination of professional management and assumption of
self-management of the Owners Association; or (iv) any action which would have the effect of

rendering the public liability insurance coverage maintained by the OWners Association unacceptable to
Lender.

MULT|STATE PUD R|DER Form 3150 1I01 (Page 2 of 3]
Slng|e Faml|y - FNMA/FH LMC Unlform lnstrument EC02SL Rev. 11/13/00

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0158733626

F. Remedies. lf Borrower does not pay PUD dues and assessments when due, then Lender may pay
lhem. Any amounts disbursed by Lender under this paragraph F shall become additional debt of
Borrower secured by the Security Instrument. Unless Borrower and Lender agree to other terms of
payment, those amounts shall bear interest from the date of disbursement at the Note rate and shall be
payable, with interest, upon notice from Lender to Borrower requesting payment

BY SIGN]NG BEL)OW, Borrower accepts and agrees to the tenns and provisions contained in this

 

PUD Rid¢r.
UO“{M,_BMH 3 g °?"
QH)ARD A. JA OBIK -Borrowar
bH l NE HACOB|_K __ -Borrower 5 g i
MULT|STATE PUD RlDER FOfm 31501/01 (Pag€ 3 013)

Sing|e Fam|ly - FNMA/FHLMC Unlform |nstrument ECOZSL Hev. 11/13/00

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EXHIBIT “B”

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gill .-,- t RséORDING REQUESTED BY;
' TrcoR TrTLE coMPANY 0F CALIFORNiA
13302 1erNE BLvr), sTE 100,TusT1N, CA 92780

WHEN RECORDED MAIL TO:
NBS Default Services, LLC
301 E. Ocean Blvd. Suite.t72.0
Long Beach, CA 90802

2012l93726 @6/ 14/20l2 11125 mt

DFFlCIRL RECORDS OF ALRHEDR COUNTY
PRTRICK O'CONNELL

RECORDING FEE: 24.00
7a \4,,___.. . . . .!l _ _ . . . . . .. .-._____ .___ _ _., __/
APNZ 986-0025-023-02 TS NO.‘. 9980-3199 TSG ORDER No.: 88284

 

 

 

SPAI'_B AHOVE YHlS LINE FOR RECORDER'S USE

NOTICE OF DEFAULT AND ELECTION TO SELL UNDER DEED OF TRUST
IMPORTANT NOTICE

IF YOUR PROPERTY IS IN FORECLOSURE BECAUSE YOU ARE BEH!ND
IN YOUR PAYMENTS IT MAY BE SOLD WITHOUT ANY COURT ACTION,
and you may have the legal right to bring your account iii good standing by paying att oj` your past due
payments plus permitted costs and expenses within tire lime permitted l)y low l"or reinstiileiiiciit ol` your
account, which is normally five business days prior to llti.l date set lor tire sale ol` your property No sale
date may be set until approximately 90 days from the date this notice of default may lie recorded
(which date of recordation appears on this notice).

This amount is $23,|}03.83 as of 06!12!2012, and will increase until your account becomes
current.While your roperty is in foreclosurel you still must pay other obligations (such us insurance
end taxes) required ll))y your note and Deed of 'l`i"ust or iiioi'tgrige. Il` you l`ail to make future payments
on the louri, pay taxes on the property` provide insurance on the property, or pay other obligations as
required in the note and Deed oi"I`rusi or mortgage tlie |reneiiciary or mortgagee may insist that you do
so in order to reinstate your account in good standing In addition, the beneficiary 'or mortgagee may'
require as a condition of reinstatement that you provide reliable written evidence that you paid ali
senior iieris, property taxes, and hazard insurance premiums

Upon your written request, the beneficiary or mortgagee will give you a written itemization of lite
entire amount you must pay. You may not have to pay t|ie entire unpaid portion of your ricoount, even
though full payment was denianded, but you must pay all amounts iii default at the time payment is
mai_:le. However, you and your beneficiary or mortgagee may mutually agree iii writing prior to tire
time the notice of sale is posted (which may riot-be earlier lluiii three months alter this notice ol` default
is recorded) to, among other tliin s. (l) provide additional time in which to cure the default by_transfer

of the property or otlierwise; or 2) establish a schedule of payments in order to cure your default; or
both (l) and (2). ‘

Following the expiration oi` the time period referred to iii the first paragraph of this riotiee, unless the
obligation being foreclosed upon 'or a separate written agreement between you and your creditor
permits a longer period, you have only the legal right to stop the sale of your property by paying the
entire amount demanded by your creditor. To find out the amount you must pay, or to arrange for
payment to stop the foreclosure or if your property is iii foreclosure for any other reason, contact

Wells Fargo Bank, N. A.
c/o NBS Default Services, LLC
301 E. Ocean Blvd. Suite 1720

Long Beach, CA 90802

Attn: Foreclosure Dept.

800-766-7751

see Attacth Dectaratt_on

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'._t_

. TS/.No.: 9980-8199

NOTICE OF DEFAULT AND ELECTION TO SELL UNDER DEED OF TRUST

_ It` you have any questions, you should contact a lawyer or the governmental agency which may~
have insured your loan. Notwithstanding the fact that your property is in foreclosure, you may

offer your property for sale provided the sale is concluded prior to the conclusion ot' the
foreclosure

REMEMBER, YOU MAY LOSE LEGAL RIGH'~I`S IF YOU DO NOT TAKE
PROMPT ACTlON.

NOTICE IS HEREBY GIVEN: That NBS Default Services, LLC is either the original trustee, the duly
appointed substituted trustee, or acting as agent for the trustee or beneficiary under a Deed of Trust
dated 03/07/2007, executed by RICHARD A. JACOBIK AND CHRISTINE S. JACOBIK,
HUSBAND AND WIFE, as Trustor(s), to secure certain obligations in favor of WELLS FARGO
BANK, N.A., as beneficiary, recorded on 03/16/2007 as Document No.: 2007108121, of Official
Records in the OH`ice of the Recorder of Alameda Coonty, California describing land therein as: As
more fully described on said Deed of Trust.

lncluded among these obligations is one Note(s) for the original sum of $631,200.00 that that
beneficial interest under such Deed of Trust and the obligations secured thereby presently held by the
beneficiary or its agent; that a breach o`f, and default in, the obligations for which said Deed of Trust is
security has occurred in that the payment has not been made ol`:

Installrnent of Principal and -Interest which became doc on U2ft}li'2012, plus impounds and/or
advances together with late chargcs, and all subsequent installments of principal, interest, plu's

impounds and/or advances and late charges and any r'corcurriug obligation that become due,
including trustee`s fees and expenses.

`l`liat by reason therefore, the dpresent beneficiary under such Deed of Trust has declared and does
hereby declare all sums secure thereby immediately due and payable and has elected and does hereby
elect to cause the trust property to be sold to satisfy the obligations secured thereby.

'*lU'l`lllNG lN THIS NOT|CI'§ SlIALl. lil'§ CUN.‘S'I` tl_lltll) AS WAIV|$`.R (}F ANY ()`I'lll$l{
i`l".l§S (}W \lG I(,I '[`l E ILENEI*` ClARY. ()`{ ()']` '] `.l( I)EFAUL'!` BY 'l`lll_t`. 'I`RUS'I`OR,
‘ll ISUAN` "I`O Tl'll". 'I` t`,`RMS OF THE I.OAN )OCUM ILN'I`S.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

The beneficiary declares that it has complied,with California Civil Code Scction 2923.5. The Declaration
pursuant to California Civil Code, Section 2923.5(b) is attached hereto as Exhibit "A"

Dated: June 12, 2012

 

 

_Lnthr-ert' (Ioiiini§rc f

"We are attempting to collect a debt, and any information we obtain will be used for that purpose."

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NOTICE 0F DEFAULT DECLARATION
PURSUANT To CALu-‘or<ruA clan connl 2923.5

Wells Fargo Bank,'N.A.
3476 Statcvicw Blvd.
Fort Mill, SC 29715

Borrower: RICl-IARD A JACOBIK

Co Borrowcr: ~

Property A`ddress: 40861NNlSWOO`L`) PLACE
DUBLlN CA 94568

The undersigned rnortgugoc, hcnciioiary, or their authorized agent (coiiectivoly, thc
"Bcnoticiary") roprcscnt and riccioron tirrrt the requirements of CA Civil Codo 2923.5 |urvc boca
mol. This Dcolamtioa is required for any residential owner occupied property in which the loan
was originated between January l, 2003 and December 31, 2007. Nnn~owner occupied and '
vacant properties nrc exempt t`rorn the requirements of CA Civil Code 2923.5.

Tho requirement indicated by “`X" was met by the Benci'rcinry'.

The Benefrciary has made-contact with the borrower pursuant to CA Civil Codc
2923(a)(2). Contact with thc borrower was made in person or by telephone to assess thc
burrowcr‘s linrincial situation and explore options for thc borrower to uvoid l`orcc|osnrc.

¥` i`)uc Dl|igonce to contact the borrower was exercised pursuant to CA Civil Codc
2923.5(3)(2) by the Benei`\ciury.

Tho borrower bus surrendered the property as evidenced by either a lcttcr cout'n"miag tire
surrender or delivery of the keys to the property to thc mortgagee, ‘l`rnstee, beneficiary, or
authorized z_rgont pursuant to CA Civil Code 2923.5(|\)(|).

'I`lrc borrower has contracted with an organization, percon, or onlin whose primary
business is advising people who have decided to leave their homes on how to extend the
foreclosure process and avoid their contractual obligations to mortgagees or beneficiaries
pursuant to CA Civil Code 2923.5(|\)(2).

111c bon'owcr has ii led For bankruptcy and the proceedings have not boca finalized
pursuant to CA Civil Code 2-923.5(}1)(3).

An onmption ns idcntil'tod in 2923.5 (|t) & (i) npplios: The loan did not'originute
between ;launary i, 2003 and December 3|, 2007 or the property is dccmcd Non-owner
occupied or vucani. '

l certify (or deciarc) trader penalty ot` perjury under tire laws of tlr`e State of C_nlifcmin that the
foregoing is true and ccrrecl.

il .1' -
Dntctl: -__ "~"ti:f,~-}~“K
v Wci|`§')l'nrgr@unk, N.A.

`tovbu Con
VP of Loan Docurncntation

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EXHIBIT “C”

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' s 2015255320 10/04/2@16 12!19 PH
REcoRr)iNG REQuEsTED BY ` g§v§!§hn§§§g“°s °F “"°"ED“ c°uNTY

 

RECORDING FEE: 31 .00
:ill, 3 PGS

SFACE ABOVE TH|S LNE FOR RECORDER‘S USE

T.S. No.: 9980-8199 TSG Ordef No.: 88284 A.P.N.: 986-0025~023-02

NOT|CE OF TRUSTEE'S SALE
NoTE: THERE is A suMMARY oF THE iNFoRMATloN iN THIS oocuMENr ATrAcHEo

iEi`§_lil§$Il

T|COR TlTLE COMPANY OF CAL|FORN|A
4210 Riverwalk Parkway, Suite 200
Riverslde, CA 92505 §§
AND WHEN RECORDED MNLT£>.' \\'3 (€§E
NBS Defau|t Services, LLC
301 E. Ocean Blvd. Suite 1120
Long Baach, CA 90802

 

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viii %‘3'-
wrist s fastener-ala wild 511€'"‘4 “i

AV|SO DE VENTA
NorA: se AoJuNTA uN REsuMEN oE LA lNFoRMAcloN oE Eer oocuMENro

PABAT|D NG PAGBEBENTA
TALA: MAYRooNG Buoo NG lMPoRMAsvoN sA DoKuMF_N'roNG irc NA NAKALAK\P

, THE)'Ne BAo B_AN
BAN TR'iNH BAY Toivi Luoc vE THONG TiN c-HlNH

(T he above statement is made pursuant to CA Civil Code Sect|on 2923.3(0)(1). The Summary will be provided to
Trustor(s) and/or vested owner(s) oniy, pursuant to CACivll Code Section 2923.3(¢)(2).)

YOU ARE lN DEFAULT UNDER A DEED OF TRUST DATED 03/07/2007. UNLESS YOU TAKE
ACT|ON TO PROTECT YOUR PROPERTY, lT MAY BE SOLD AT A PUBL|C SALE. |F YOU NEED
AN EXPLANAT|ON OF THE NATURE OF THE PROCEED|NG AGA|NST YOU, YOU SHOULD
CONTACT A LAWYER.

NBS Defau|t Services, LLC, as the duly appointed Trustee, under and pursuant to the power of sale
contained in that certain Deed of Trust Recorded 03/16/2007 as Document No.: 200`/108121l of
Oliicia| Records in the office of the Recorder of Alameda County. Californial executed by: RlCHARD A.
JACOB|K AND CHR|ST|NE S. JACOBiK, HUSBAND AND WlFEl as Trustor, WlLL SELL AT PUBL|C
AUCTION TO THE HlGHEST BiDDER FOR CASH (payable in full at time of sale by cash, a cashier's
check drawn by a state or national bank. a check drawn by a state or federal credit union, or a check
drawn by a state or federal savings and loan association, savings association, or savings bank
specified in section 5102 of the Financia| Code and authorized to dc business in this state). Ai| right,
title and interest conveyed to and now held by it under said Deed of Trust in the property situated in
said County and state. and as more fully described in the attached legal description

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`sale pine a Trme: 10125/2016 at 12:00 Pui

Saie Location: At the Falion Street emergency exit to the Alameda County Courthouse, 1225
Fallon St., Oakland, CA

The street address and other common designation. if any. of the real property described above is
purported to be: 4086 iNNiSWOOD PLACE. DUBLiN, CA 94568

The undersigned Trustee disclaims any liability for any incorrectness of the street address and other
common designation, if anyl shown herein. Said sale will be made in an "AS iS" conditionl but without
covenant or warranty, expressed or impiied, regarding titie, possession, or encumbrances, to pay the
remaining principal sum of the note(s) secured by said Deed of Trustl with interest thereonl as
provided in said note(s), advances, if any. under the terms of the Deed of Trustl estimated fees,
charges and expenses of the Trustee and of the trusts created by said Deed of Trust. to-wit:
$766,919.99 (Estimated) as of 09/14/2016. Accrued interest and additional advances, if any, will

increase this figure prior to sale. lt is possible that at the time of sale the opening bid may be less than
the total indebtedness due.

NOT|CE TO PCTENTiAL B|DDERS: if you are considering bidding on this property iien, you should
understand that there are risks involved in bidding at a tmstee aucticn. You will be bidding on a iien,
not on the property ltseif. P|acing the highest bid at a trustee auction does not automatically entitle you
to free and clear ownership of the property. You should also be aware that the lien being auctioned off
may be a junior iien. if you are the highest bidder at the auction, you are or may be responsible for
paying off all liens senior to the lien being auctioned off, before you can receive clear title to the
property. Ycu are encouraged to investigate the existencel priority, and size cf outstanding liens that
may exist on this property by contacting the county recorders office or a title insurance company.
either of which may charge you a fee for this infomiation. if you consult either of these resources, you
should be aware that the same lender may hold more than one mortgage or deed of trust on the
property.

NOT|CE TO PROPERTY OWNER: The sale date shown on this notice of sale may be postponed one
or more times by the mortgagee, beneficiary, trustee, or a court, pursuant to Section 29249 of the
California Civil Code, The law requires that information about trustee sale postponements be made
available to you and to the publicl as a courtesy to those not present at the saie. if you wish to learn
whether your sale date has been postponed. and, if applicable the reachedqu time and date for the
sale of this property. you may cai|, 916»939-0772 for information regarding the trustee‘s sale or visit
this |ntemet Web site. www.nationwideposting.com for information regarding the sale of this propertyl
using the n|e number assigned to this case, T.S.# 9980-8199. information about postponements that
are very short in duration or that occur close in time to the scheduled sale may not immediately be
reflected in the telephone information cr on the internat Web site. The best way to verify postponement
information is to attend the scheduled saie.

li` the Trustee la unable to convey title for any reaaon, the sueeelsful bidder‘a sole and exclusive remedy shall be the return of
monies paid to the Trustee and the successful bidder shall have no further recourse

NBS Defau|t Services. LLC

301 E. Ocean Blvd. Suite 1720

Long Beach, CA 90802

800-766~7751

ForTrustee Sale information Log On To: www.nationwideposting.com or Call: 916-939-0772.

NBS Defauit Services, LLC, Kim Coker, Forec|osure Associate

This communication is an attempt to collect a debt and any information obtained will be used for that purpose However, if you have received a discharge
of the debt referenced herein in a bankruptcy proceedingl this is not an attempt to impose personal liability upon you for payment ofthat debt. in the event
you have received a bankruptcy discharge. any action to enforce the debt will be taken against the property oniy.

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LEGAL DESCR|PT|ON

PARCEL ONE:

BE|NG A PORT|ON OF LOT 62 AS SA|D LOT |S SHOWN ON TRACT 7075,F1LED ON APR|L 18,
2001, iN MAP BOOK 257 PAGES 47-61. AS AMENDED BY CERT|F|CATE OF CORRECT|ON
RECORDED APR|L 18, 2002, SER|ES NO. 2002-171552 OFFiC|AL RECORDS OF ALAMEDA
COUNTY, STATE OF CAUFORN|A FOR PURPOSES OF A LOT LiNE ADJUSTMENT BE|NG lN
THE CITY OF DUBLiN ALAMEDA COUNTV, CAL|FORN|A, AND BE|NG MORE PART|CULARLY
DESCRIBED AS FOLLOWS.

BEG|NN|NG AT THE MOST SOUTHWESTERLY CORNER OF SAiD LOT 62; THENCE ALONG THE
WESTERLY L|NE OF SAiD LOT 62, N 03° 24`16" E 37. 00 FEET TO THE NORTHERLY LiNE OF
SAiD LOT 62; THENCE ALONG SA|D NORTHERLY L|NE. S 86° 35` 44" E 45. 00 FEET; THENCE N
03° 24`16" E 8, 00 FEET; THENCE S 86° 35` 44" E 17. 08 FEET; THENCE N 03° 24`16" E. 31 .00
FEET TO THE NORTHERLY L|NE OF SA|D LOT 62; THENCE ALONG SA|D NORTHERLY L|NE S
86° 35` 44" E, 13 92 FEET; THENCE LEAViNG SAiD NORTHERLY LiNE, S 03° 24`16" W, 42. 17
FEET; THENCE S 86° 35` 44" E 2. 00 FEET TO THE EASTERLY LiNE OF SAiD LOT 62; THENCE
ALONG SA|D EASTERLY L|NE, S 03° 24`16"W 33. 83 FEET TO THE SOUTHERLY LiNE OF SA|D
LOT 62' THENCE ALONG SAiD SOUTHERLY L|NE, N 86° 35` 44" W, 78. 00 FEET TO THE POINT
OF BEG|NN|NG.

RESERV|NG THEREFROM A NON- EXCLUS|VE EASEMENT FOR PR|VATE STORM DRA|N
PURPOSES SHOWN AS A "P. S. D. E. " ON SAiD MAP OF TRACT 7075 FOR THE BENEF|T OF THE
LOT OWNERS |N TRACT 7075.

RESERV|NG THEREFROM AN EASEMENT APPURTENANT TO LOT 63, SHOWN CONTIGUOUS
TO LOT 63 AS "3` REA" (REC|PROCAL EASEMENT AREA) ON SA|D MAP OF TRACT 7075 FOR
|NSTALLATION AND MA|NTENANCE OF PR|VATE LANDSCAPE FAC|L|T|ES AND RECREAT|ONAL
USE OF YARD AREA.

FURTHER RESERV|NG THEREFROM AN EASEMENT APPURTENANT TO LOT 61, SHOWN AS "7
PDE" (PRIVATE DRIVEWAY EASEMENT) ON SAiD MAP OF TRACT 7075, FOR PR|VATE VEH|CLE
AND PEDESTR|AN ACCESS WAYS.

PARCELTWO

AN EASEMENT APPURTENANT TO PARCEL ONE. HERE|NABOVE, FOR lNSTALLATION AND
MA|NTENANCE OF PR|VATE LANDSCAPE FAC|LlT|ES AND RECREAT|ONAL USE OF YARD
AREA, OVER THAT PORT|ON OF LOT 61 SHOWN AS “3` REA" (REC|PROCAL EASEMENT AREA)
ON SA|D TRACT MAP 7075.

PARCELTHREE.

AN EASEMENT, APPURTENANT TO PARCEL ONEl HERE|NABOVE FOR PR|VATE VEH|CLE AND
PEDESTR|AN ACCESS WAYS OVER THAT PORT|ON OF LOT 61 SHOWN AS "7` PDE" (PRiVATE
DR|VEWAY EASEMENT) ON SAiD TRACT MAP 7075.

PARCEL FOUR.

A NON- EXCLUS|VE EASEMENT FOR |NGRESS AND EGRESS USE AND ENJOYMENT,
APPURTENANT TO PARCEL ONE HERE|NABOVE, OVER UNDER, ALONG AND THROUGH THE
"COMMON AREA" AS DEF|NED lN THE RIVA AT TASSAJARA DECLARAT|ON OF RESTRICT|ONS,
RECORDED DECEMBER 28 2001 SER|ES NO. 2001505672 OFFiC|AL RECORDS, AND ANY
AMENDMENTS AND/OR ANNEXAT|ONS THERETO.

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EXHIBIT “D”

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Wells Ful'go Home Morigagc. P°ge 1 "f5
Retui'n Mail Opcrations
PO Box 10368

Des Moincs, IA 50306-0368 W']'-j,{,'[ 15 . .

witco -"

 

 

March 15’ 2017 Account Informatu)n
Fax: 1-866-590-8910
Telephone: 1-800-416-1472
Corrcspondencc: PO Box 10335
Des Moincs, IA 50306
Hours of lopcr:r\tion: Mon - Thurs, 7 a.m. - 9 p.m.,
Fri, 7 a.m. - 8 p.m.,

MATrHEW M. sPIELBERG S*“» 8 m ' 4 P-m'» Cl`
CASTRO VALLEY, C A'9 4 5 46 Property address: 4086 INNlSWOOD PLACE

 

l}l|lilriN {`-r'\ 94568

 

 

Subject: Action required regarding your client’s Home Preservation review
Mortgagor(s): RICHARD JACOBIK
Loan number: 0158733626

Dear Matthew M. Spielbcrg:

I have enclosed a copy of correspondence that must be passed along to your client which provides time
sensitive information about a Home Preservation review on their property.

Next steps required
Please review the attached documents with next Steps including any documentation needed to continue
the review and ensure that you or your client responds within the given timeframes.

I’m here to help

As your client’s horne preservation specialist, I’m standing by to help with your client’s needs. lf you have
any questions about the information in this letter, you can reach me at the phone number listed below.

Sincerely,

Tigre Leichliter

Tigre Leichliter

Home Preservation Specialist
Wells Fargo Home Mortgage

Ph: 1-8557160537 ext. 5154142158
Fax: 1-866-590-8910

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HP601 708

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Wells Fargo Home Morlgage Pagc 2 of‘r’
Return Mai| 01.)cl'ations
i’O Box 10368

Dcs Moines,IA 5030()-0368 '\VHI.LS -
FARGO _

 

March 15, 2017 Account lnformatlon
Fax: 1-866~590-8910
'l‘clcphonc: 1-800-416-1472
Correspondcnce: PO Box 10335.
Des Moines, IA 50306
Hours of operation: Mon - Thurs, 7 a.m. - 9 p.m.,
Fri, 7 a.m. - 8 p.m.,

RICHARD JACOBIK Saf. 8 a~m~ - 4 p.m.. CT
§§B()Lll§NCl§`/;?S%IS) PLACE Loan number: 0158733626

Property address: 4086 IN'NISWOOD PLACE
l}UBl.`IN CA 94563

 

PLEASE NOTE: This notice is being provided for informational purposes only. As a result of at least one
bankruptcy case filing that included the above referenced account, Wells Fargo Home Mortgage is NOT
attempting in any way to violate any provision of the United States Bankruptcy Code or to collect a debt
(deiiciency or otherwise) from any customer(s) who is impacted by an active bankruptcy case or has
received a discharge, where the account was not otherwise reaffirmed or excepted from discharge THIS
lS NOT A BILL OR A REQUEST FOR PAYMENT AS TO THESE CUSTOMER(S). Your decision to
discuss workout options with Wells Fargo Home Mortgage is strictly voluntary. You are not obligated to
pursue any workout options discussed with us. At your request, we will immediately terminate any such
discussions should you no longer wish to pursue these options

Subject: Your request for assistance

Note: We service your mortgage on behalf of your investor, HSBC BANK USA, N.A. as trustee for
WFMBS 2007-7.

Dear RICHARD JACOBIK:

We’re responding to your request for assistance and the options that may be available to help you. We
realize that the process can take some time, and we appreciate your patience While we review your
options.

Here’s what Wc found

We carefully reviewed the information you provided us, which included a process that compared your
information to the qualitications for assistance associated with your loan. Here is the result of that
review.

Program name: Piggy-Back or Piggy-back w/ Temporary Rate Reduction

Program description: Past due payments are set aside but carried for the life of the loan as a zero
interest, zero payment balance This set aside balance is due upon payoff of the loan or at maturity,
whichever occurs iirst.

HF'601 708

580

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Pagc 3 of 5

Account Information
Loan numbcr: 0158733626

Property address:40861NNlSWOOD PLACE
DUBLIN CA 94568

 

A temporary rate modification may also be a part of this plan, reducing the interest rate to provide an
affordable payment. At the end of the rate-reduction period, the interest rate gradually increases until
the original interest rate is back in effect for the life of the loan.

At this time, you do not meet the requirements of this program because:

We are unable to modify your mortgage based on the results of your net present value (NPV) evaluation.

Once we determined that you did not meet the requirements for a particular program, we did not
continue to evaluate that program based on other criteria related to your loan type or information you
may have supplied. Instead we moved to evaluate you for the next available program based on your
information and the qualifications associated with your loan.

For California homeowners, additional NPV information is available

If the loan referenced above is a first lien on a property located in the state of California, and you occupy
the property as your primary residence you can receive a complete list of the NPV information we used
in your evaluation. Contact us in writing with your request.

Please fax your request to 1-866-359-7363 or mail to:

Wells Fargo Home Mortgage

1000 Blue Gentian Road,

Suite 300 MAC X9999-01N,

Eagan, MN 55121

If you believe our decision on your eligibility for assistance is incorrect, you can appeal within 36
calendar days from the date of this letter. You can follow the instructions outlined in the enclosed Appeal
Request Form.

Talk to me about your other options

We have options available to help you avoid a foreclosure You are eligible for a short sale and deed in
lieu of foreclosure provided you meet the requirements

If the amount you owe on your mortgage is higher than what you think you can sell your house for, you
may Want to consider what is known as a “short sale.” This option could allow you to list your home for
sale, for an amount that is less than you owe.

During the short sale process, you’ll need to submit documentation to us that we will evaluate. For
example, a short sale requires a purchase contract. Once we receive a purchase contract Wells Fargo
Home Mortgage will review the terms of the contract and obtain the appraised value of the property.

If you are interested in a short sale, contact me right away. I can help explain the short sale process,
guidelines and your eligibility.

If you are unable to sell your home or find a short sale is not the right alternative to foreclosure for you,
another option to consider might be a deed in lieu of foreclosure, sometimes referred to as a Mortgage

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Account information
Loan number: 0158733626

Property address: 4086 INNISWOOD PLACE
DUBLiN CA 94563

 

Release. If you are interested in a deed in lieu of foreclosure, please contact me right away so we can
determine your eligibility and coordinate an appraisal and inspection of your property.

Keep in mind, if you accept a deed in lieu of foreclosure, you must agree to vacate the property within an
agreed upon time,

We’re here for you
If you have any questions about the information in this letter please call me at the phone number listed
below.

Sincerely,

Tigre Leichliter

Tigre Leichliter

Home Preservation Specialist
Wells Fargo Home Mortgage

Ph: 1-8557160537 ext. 5154142158
Fax: 1~866-590-8910

Contact us

If you‘d like to request information, notify us of an error, or share any concerns you may have about the
servicing of your loan, please contact us at P.O. Box 10335, Des Moines, lA 50306. Please include your
account number with all correspondence

Get free counseling to help manage expenses and avoid foreclosure, Reach out to a local HUD-approved,
non-profit housing counseling agency if you’re struggling to keep up with monthly expenses, or want
help to avoid foreclosure, At no cost, a counselor will work closely with you, providing the information
and assistance you need. To find an agency near you, go to www.hud.gov/ offices / hsg/ sfh/ hcc/fc. Or call
1-800-569-4287 (TDD 1-800-877-8339). You can also call HOPE Hotline at 1-888-995-HOPE (4673).

Be sure you avoid anyone who asks for a fee for counseling or a loan modification, or asks you to sign
over the deed to your home, or to make your mortgage payments to anyone other than Wells Fargo
Home Mortgage.

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Pagc 5 of;_',

Appeal request form March 15, 2017

What you need to do
If you believe our decision on your eligibility for assistance is incorrect, you can appeal within 36
calendar days from the date of this letter.

You can request an appeal by fax, mail, or phone:

By fax By mail By phone
Fax number: Return address: Toll-free number:
1-866-590-8910 Wells Fargo Home Mortgage 1-877-816-4914
MAC X9999-01N and follow the prompts
1000 Blue Gentian Road,
Suite 300 Be sureto have your loan
Eagan, MN 55121 number.

If you choose to submit your appeal request in writing (via fax or mail), you can either use this
appeal request form or write a letter of your own that explains the reason you believe our decision
is incorrect, lnclude any additional information or documents that may help us review your
appeal Be sure to write your loan number on all documents. We’ll review your appeal request
based on the information you have provided (if applicable), or on the information we already have.
After we receive your appeal request, you’ll receive a confirmation letter with next steps.

1. Please state which decisions you believe are incorrect and why:

2. Please enclose any additional information you may have that supports your appeal.

3. If you are disputing the property value used in our decision, please state the value you believe to
be correct:

$_ _ _
4. Provide your contact information:
Primary contact phone:m

Other contact numbers: ___w_m“ _ _ ~»
Best days and times to reach you:

5. Fax or mail your appeal request to us as indicated at the top of the form.

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EXHIBIT “E”

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PLEASE NOTE: 'I'his notice is being provided for informational purposes only. As a result of at least one
bankruptcy case filing that included the above referenced aecount, Wells Fargo Home Mortgage is NOT
attempting in any way to violate any provision of the United States Bankruptcy Code or to collect a debt
tdciicicnc_v or otherwisc] from any customci'(s) who is impacted by an active bankruptcy case or has

received a discharge where the account was not otherwise reaffirmed or excepted from discharge THIS
lS NOT A BILL OR A REQUES'\` FOR PAYMEN'I`AS TO THESE CUSI`OMER(S).

Your decision to discuss workout options with Wells Fargo Home Mortgag,e is strictly voluntary. You are
not obligated to pursue any workout options discussed with us. At your request, we will immediately
terminate any such discussions should you no longer wish to pursue these options

Subject: Decision on your loan modification and next steps

Dear Richard A .lacobik:

ln response to your appeal request, we have completed a review of the decision we made about your
mortgage
Here’s what we found

After carefully reviewing the information we currently have, we have determined that you still do not
meet the requirements for a loan modification

Tnlk to me about your other options

We have options available to help you avoid a foreclosure You are eligible for a short sale and deed in
lieu of foreclosure provided you meet the requirements

ti the amount you owe on your mortgage is higher than what you think you can sell your house for, you

may want to consider what is known as a “short sale". 'l`his option could allow you to list your home for
sale, for an amount that is less than you owe.

During the short sale process, you’ll need to submit documentation to us that we will evaluate For
example, a short sale requires a purchase contract. Once we receive a purchase contract Wells Fargo
Home Moitgage will review the terms of the contract and obtain the appraised value of the property.

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2 | I. the undersigned certify and declare that l have read the First Amended l
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5 l l am a party'io'this action. The matters stated in the document described y

: above are true of my own knowledge and belief except as to those matters stated on

3 in l`onnation and belief`, and as to those matters I believe them to be true.

9 l assaulted on December 14_ 2017 at county of Alameda, california
:10 l 1 declare under penalty of perjury under the laws of the State of California

12 that the foregoing is true and correci.

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32 l l, the undersigned certify and declare that l have read the First Amended `

4 Complaint and know its contents. \

5 l am a pany.to'this action. The matters stated in the document described \

: above are true of _my own knowledge and belief except as to those matters stated on \

3 information and belief, and as to those matters I believe them to be true.

9 Executed on December 14, 2017 at County of Alameda, California. \
::) I declare under penalty of perjury under the laws of the State of California

12 that the foregoing is true and oorroct.

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CERT]_FICATE OF SERVICE

I, the undersigned, declare that l am over the age of 18 and am not a party to
this action. 1 am employed in the County of Los Angeles, State of California. My
business address is 505 N. Brand Blvd., Suite 800, Glendale, California 91203.

On January/25, 2018, 1 served a copy of the foregoing document entitled:

PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
FIRST AMENDED COMPLAINT

On the interested parties in said case as follows:

Served Electronically via the Court’s CM/ECF System:
Attorneyfor Defendant, Wells Fargo Bank, N.A.

Tara Mohseni, Esq.
Severson & Werson
One Embarcadero Center, Ste. 2600
San Francisco, CA 94111
Tel.: (415) 398-3344 | Fax: (415) 965-0430
Email: TM@severson.com

l declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct. I declare that I am employed in the
office of a member of the Bar of this Court, at Whose direction the service Was
made. This declaration is executed in Glendale, California on January 25, 2018.

Julia Sheveleva /s/ Julia Sheveleva
(Type or Print Name) (Signature of Declarant)

 

